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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

MADELYN LIPSCOMB,

                      Plaintiff,                      Case No.

    v.

                                                      DEMAND FOR JURY TRIAL
MERCK & CO., INC., and
MERCK SHARP & DOHME CORP.,

                      Defendants.




                                         COMPLAINT

         Plaintiff, MADELYN LIPSCOMB, by and through her attorneys, Pendley, Baudin &

Coffin, L.L.P., respectfully submits the following Complaint and Jury Demand against

Defendants, Merck & CO., INC. and MERCK SHARP & DOHME CORP. (collectively “Merck”),

and alleges the following upon personal knowledge; information and belief; and investigation of

counsel.

                                       INTRODUCTION

         1.    This common-law products liability, negligence, strict liability, breach of warranty

and fraud action arises out of serious and debilitating injuries, including but not limited to

autonomic, neurological and heterogenous autoimmune injuries and resulting sequalae that

plaintiff, Madelyn Lipscomb (“Plaintiff”), sustained as a result of receiving injection of the

Gardasil vaccine, which was manufactured, labeled, and promoted by Merck.




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                          PARTIES, JURISDICTION, AND VENUE
       2.      Plaintiff, Madelyn Lipscomb (“Lipscomb” or “Plaintiff”), is an adult and a
resident and citizen of Avilla, Indiana.
       3.      Defendant Merck & Co., Inc., is a New Jersey corporation with its principal place
of business at One Merck Drive, Whitehouse Station, New Jersey.
       4.      Defendant Merck, Sharp and Dohme Corporation, is a New Jersey corporation
with its principal place of business at One Merck Drive, Whitehouse Station, New Jersey.
       5.      Defendants Merck & Co., Inc., and Merck, Sharp and Dohme Corporation shall
hereinafter collectively be referred to as “Merck.”
       6.      At all times herein mentioned, each defendant was the agent, servant, partner,
aider and abettor, co-conspirator and/or joint venturer of the other defendants named herein and
was at all times operating and acting within the purpose and scope of said agency, service,
employment, partnership, conspiracy and/or joint venture and rendered substantial assistance and
encouragement to the other defendants, knowing that their collective conduct constituted a
breach of duty owed to Plaintiff.
       7.      At all times herein mentioned, defendants were fully informed of the actions of
their agents and employees, and thereafter no officer, director or managing agent of defendants
repudiated those actions, which failure to repudiate constituted adoption and approval of said
actions and all defendants and each of them, thereby ratified those actions.
       8.      There exists and, at all times herein mentioned there existed, a unity of interest in
ownership between the named defendants, such that any individuality and separateness between
the defendants has ceased and these defendants are the alter-ego of each other and exerted
control over each other. Adherence to the fiction of the separate existence of these two named
defendants as entities distinct from each other will permit an abuse of the corporate privilege
and would sanction a fraud and/or would promote injustice.
       9.      At all times herein mentioned, the two Merck defendants were engaged in the
business of, or were successors in interest to, entities engaged in the business of researching,

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formulating, compounding, testing, manufacturing, producing, processing, assembling,
inspecting, distributing, marketing, labeling, promoting, packaging, prescribing and/or
advertising for sale, and selling products for use by patients such as Plaintiff and her medical
providers. As such, the two Merck defendants are each individually, as well as jointly and
severally, liable to Plaintiff for her damages.
       10.      The harm caused to Plaintiff resulted from the conduct of one or various
combinations of the two Merck defendants, and through no fault of Plaintiff. There may be
uncertainty as to which one or which combination of the two Merck defendants caused the
harm. The two Merck defendants have superior knowledge and information on the subject of
which one or which combination of the two defendants caused Plaintiff’s injuries. Thus, the
burden of proof should be upon each of the two Merck defendants to prove that the defendant
has not caused the harms Plaintiff has suffered. As previously stated, the two named Merck
defendants shall hereinafter and throughout this Complaint be collectively referred to as
“Merck.”
       11.      Merck is the manufacturer, labeler and promoter of the Gardasil and Gardasil-9
vaccines, which are purported to be “cervical cancer vaccines” and “anal cancer vaccines” by
preventing a handful of the hundreds of strains of the Human Papillomavirus (“HPV”). Merck
regularly conducts and transacts business in Indiana and has promoted Gardasil to consumers,
patients, hospitals, physicians, nurses, and medical professionals, including but not limited to
Plaintiff, and the medical facility and medical professionals who prescribed and/or injected
Plaintiff with Gardasil. This Court has personal jurisdiction over Merck because defendants
have sufficient minimum contacts with Indiana to render the exercise of jurisdiction by this
Court proper.
       12.      This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C.
§1332(a) because Plaintiff and the defendants are citizens of different states and the amount of
controversy exceeds $75,000.00, exclusive of interest and costs.


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        13.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 because a substantial
portion of the events and omissions giving rise to the claims asserted herein occurred in this
District.

                                   FACTUAL ALLEGATIONS
I.    “History Doesn’t Repeat Itself, But It Often Rhymes” – Mark Twain
        14.     Merck traces its history back to 1668, when the original founder of the company,
Friedrich Jacob Merck, bought an apothecary in Darmstadt, Germany. The company operated as
a pharmacy for approximately the next 150+ years when, in 1827, Friedrich’s descendant,
Heinrich Emmanuel Merck, converted the company into a drug manufacturing enterprise.
Merck’s first products included morphine and cocaine.
        15.     Merck later manufactured a number of controversial products including Fosamax
(a purported bone density drug that caused bone fractures), Nuvaring (a birth control device
associated with life-threatening blood clots and death), and probably its most infamous drug,
Vioxx (a pain medication Merck was forced to pull from the market due to its cardiovascular
risks), all of which landed Merck in litigation hot water.
        16.     With regard to Vioxx, Merck was sued by tens of thousands of patients who
alleged they suffered heart attacks and other cardiovascular injuries as a result of ingesting the
blockbuster pain medication.
        17.     Documents unsealed during the Vioxx litigation in the early 2000s revealed a
culture wherein Merck knew early on that Vioxx was linked to fatal cardiovascular adverse
events but nonetheless intentionally chose to conceal these risks from the public and medical
community and, instead, orchestrated a scheme to downplay the severity of the risks. Merck
misrepresented the results of its clinical trials, failed to undertake the clinical trials that would
reveal risks, and blacklisted medical professionals who dared to publicly criticize the safety of
Vioxx. See e.g., Eric J. Topol, Failing the Public Health – Rofecoxib, Merck, and the FDA, 351
NEW ENGLAND JOURNAL OF MEDICINE 1707 (2004); Gregory D. Curfman et al., Expression of

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Concern Reaffirmed, 354 NEW ENGLAND JOURNAL OF MEDICINE 1193 (2006); Aaron S.
Kesselheim et al., Role of Litigation in Defining Drug Risks, 17 JAMA 308 (2007); Harlan M.
Krumholz et al., What We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007).
       18.     The British Medical Journal reported that internal documents and
communications obtained from Merck during litigation revealed that Merck scientists internally
acknowledged the existence of Vioxx’s risks very early on: “Since the early development of
[Vioxx], some scientists at Merck were concerned that the drug might adversely affect the
cardiovascular system … In internal emails made public through litigation, Merck officials
sought to soften the academic authors’ interpretation [of the data]. The academic authors
changed the manuscript at Merck’s request [to make less of the apparent risk] …” Harlan M.
Krumholz et al., What We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007). And,
despite Merck’s knowledge of the risk, Merck never conducted the necessary studies designed to
evaluate cardiovascular risk. Id.
       19.     In an article published in the Journal of the American Medical Association, it was
reported that Merck worked to “diminish the impact of reported cardiovascular adverse effects
by not publishing adverse events and failing to include complete data on myocardial infarctions
that occurred during a key clinical trial. The information came to the public attention through a
subpoena 5 years after the article’s publication, when [Vioxx] was already off the market.”
Aaron S. Kesselheim et al., Role of Litigation in Defining Drug Risks, 17 JAMA 308 (2007).
The article concludes: “These case studies indicate that clinical trials and routine regulatory
oversight as currently practiced often fail to uncover important adverse effects for widely
marketed products. In each instance, the litigation process revealed new data on the incidence of
adverse events, enabled reassessment of drug risks through better evaluation of data, and
influenced corporate and regulatory behavior.” Id.
       20.     It was also revealed and reported that, in order to control the public narrative that
Vioxx was safe and risk free, “Merck issued a relentless series of publications…complemented
by numerous papers in peer-reviewed medical literature by Merck employees and their
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consultants. The company sponsored countless continuing medical ‘education’ symposiums at
national meetings in an effort to debunk the concern about adverse cardiovascular effects.” Eric
J. Topol, Failing the Public Health – Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND
JOURNAL OF MEDICINE 1707 (2004). In addition, Merck “selectively targeted doctors who raised
questions about [Vioxx], going so far as pressuring some of them through department chairs.”
Harlan M. Krumholz et al., What We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007).
Dr. Topol, Chairman of the Department of Cardiovascular Medicine at the Cleveland Clinic,
commented: “Sadly, it is clear to me that Merck’s commercial interest in [Vioxx] sales exceeded
its concern about the drug’s potential cardiovascular toxicity.” Eric J. Topol, Failing the Public
Health – Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND JOURNAL OF MEDICINE 1707
(2004).
          21.   Once Merck’s misdeeds vis-à-vis Vioxx were revealed in various jury trials,
Merck paid nearly $5 billion to settle the tens of thousands of personal injury actions that had
been brought against it as a result of its concealment of Vioxx’s cardiovascular risks. Merck
paid an additional $1 billion to settle a securities class action brought by investors who had lost
money when Merck’s stock tanked following revelations of the drug’s risks and subsequent lost
sales. Merck was also forced to pay $950 million in civil and criminal fines to the Department of
Justice and other governmental entities as a result of various criminal activities Merck had
engaged in with respect to Vioxx.
          22.   In 2005, Merck pulled Vioxx from the market and was desperate to find a
replacement for its previous multi-billion-dollar blockbuster.
          23.   Gardasil was viewed as the answer to the financial woes Merck had suffered from
Vioxx.
          24.   Indeed, some have euphemistically noted that HPV stood for “Help Pay for
Vioxx.”




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         25.      In the aftermath of the Vioxx scandal, and seeking a replacement product,
Merck’s senior director of clinical research, Eliav Barr, M.D., proclaimed of Gardasil: “This is it.
This is the Holy Grail!”
II.   In Bringing Its Holy Grail, Gardasil, to Market, Merck Engaged in the Same
      Fraudulent Research and Marketing It Had Engaged in Vis-à-vis Vioxx Resulting In
      Patients Being Exposed to a Vaccine That is Of Questionable Efficacy and Which Can
      Cause Serious and Debilitating Adverse Events

         26.      As outlined herein, in researching, developing, and marketing its new Holy Grail,
Gardasil, Merck engaged in the same unscrupulous tactics it had so infamously engaged in with
Vioxx.
         27.      Certain Merck employees, scientists and executives involved in the Vioxx scandal
were also involved with Gardasil, and it appears they employed the very same methods of
manipulating science and obscuring risks as they did with Vioxx.
         28.      According to Merck’s marketing claims, Gardasil (and, later, next-generation
Gardasil 9) provided lifetime immunity to cervical, anal and other HPV-associated cancers.
         29.      As discussed more fully below, whether Gardasil prevents cancer (not to mention
lifetime immunity), is unproven. In fact, it may be more likely to cause cancer in those
previously exposed to HPV than to prevent it.
         30.      Moreover, Merck knows and actively conceals the fact that Gardasil can cause a
constellation of serious adverse reactions and gruesome diseases, including autoimmune
diseases, and death in some recipients.
         31.      As a result of Merck’s fraud, Gardasil today is wreaking havoc on a substantial
swath of an entire generation of children and young adults on a worldwide scale.
      A.       Overview of the Human Papillomavirus
         32.      Human Papillomavirus (“HPV”) is a viral infection that is passed between people
through skin-to-skin contact. There are more than 200 strains of HPV, and of those, more than
40 strains can be passed through sexual contact.



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       33.     HPV is the most common sexually transmitted disease. It is so common that the
majority of sexually active people will get it at some point in their lives, even if they have few
sexual partners.
       34.     HPV, for the most part, is benign. More than 90 percent of HPV infections cause
no clinical symptoms, are self-limited, and are removed from the human body by its own
immunological mechanisms and disappear naturally from the body following an infection. See,
e.g., Antonio C. de Freitas et al., Susceptibility to cervical cancer: An Overview, 126
GYNECOLOGIC ONCOLOGY 306 (August 2012).
       35.     Approximately 12 to 18 of the over 200 strains of HPV are believed to be
associated with cervical cancer, and approximately six of the strains are believed to be associated
with anal cancer.
       36.     Not every HPV infection puts one at risk for cervical cancer. Only persistent
HPV infections – not short-term or transient infections or sequential infections with different
HPV types – in a limited number of cases with certain strains of the virus may cause the
development of precancerous lesions. With respect to cervical cancer, these precancerous lesions
are typically diagnosed through Pap smears and then removed through medical procedures.
However, when undiagnosed, they may in some cases progress to cervical cancer in some
women. Other risk factors, such as smoking, are also associated with cervical cancer. See
Antonio C. de Freitas et al., Susceptibility to cervical cancer: An Overview, 126 GYNECOLOGIC
ONCOLOGY 305 (August 2012). Infection with certain types of HPV are also associated with
other diseases, such as genital warts.
       37.     Public health officials have long recommended the Pap test (also known as Pap
Smear), which detects abnormalities in cervical tissue, as the most effective frontline public
health response to the disease.
       38.     Since its introduction, cervical cancer screening through the Pap test has reduced
the rates of cervical cancer in developed countries by up to 80 percent. Id.


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        39.      Incidences of cervical cancer have been declining dramatically worldwide as
countries have implemented Pap screening programs.
        40.      New cases of cervical cancer in the U.S. affect approximately 0.8 percent of
women in their lifetime. See Cancer Stat Facts: Cervical Cancer, NIH, at
https://seer.cancer.gov/statfacts/html/cervix.html. For those who are diagnosed, cervical cancer
is largely treatable, with a five-year survival rate of over 90 percent when the cancer is caught
early. See Antonio C. de Freitas et al., Susceptibility to cervical cancer: An Overview, 126
GYNECOLOGIC ONCOLOGY 305 (August 2012). Anal cancer is even more rare, and according to
the current data, approximately 0.2 percent of people will be diagnosed with anal cancer in their
lifetime.
        41.      Although the incidence of cervical cancer was in rapid decline as a result of the
implementation of routine testing and screening, including the Pap test and various DNA testing
measures, Merck sought to fast-track a vaccine onto the market to prevent infection from four
types of HPV (only two of which are associated with cancer).
      B.      Overview of the Gardasil Vaccine and Its Fast-Tracked Approval
        42.      While there are over 200 types of the HPV virus, only 12 to 18 types currently are
considered potentially associated with cervical or anal cancer. Merck’s original Gardasil vaccine
claimed to prevent infections from four strains (HPV Strain Types 6, 11, 16 and 18) and only
two of those (Types 16 and 18) were associated with cervical and anal cancer.
        43.      Under Food and Drug Administration (“FDA”) requirements, to obtain approval
for marketing a vaccine, the manufacturer must conduct studies to test the effectiveness and
safety of the vaccine. Once FDA approval is obtained, the manufacturer has a duty to perform
any further scientific and medical investigation as a reasonably prudent manufacturer would
perform, and to engage in any necessary post-marketing pharmacovigilance related to the
product.
        44.      The FDA approved Gardasil on June 8, 2006, after granting Merck fast-track
status and speeding the approval process to a six-month period, leaving unanswered material
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questions relating to its effectiveness and safety as well as when and to whom the Gardasil
vaccine ought to be administered.
       45.     Merck failed, during the preapproval processing period and thereafter, to disclose
(to the FDA and/or the public), material facts and information relating to the effectiveness and
safety of Gardasil, as well as to whom the vaccine should or should not be administered.
       46.     Merck failed to perform in the preapproval processing period and thereafter,
scientific and medical investigations and studies relating to the safety, effectiveness and need for
the Gardasil vaccine as either required by and under FDA directives and regulations, and/or
those which a prudent manufacturer should have conducted unilaterally.
       47.     In June 2006, after the FDA’s fast-tracked review, Gardasil was approved for use
in females ages nine through 26 for the purported prevention of cervical cancer and, almost
immediately thereafter, the Advisory Committee on Immunization Practices (“ACIP”), a
committee within the Centers for Disease Control (“CDC”), recommended Gardasil for routine
vaccination of adolescent girls ages eleven and twelve years old, but also allowed it to be
administered to girls as young as nine years old.
       48.     On October 16, 2009, the FDA approved Gardasil for use in boys ages nine
through 26 for the prevention of genital warts caused by HPV types 6 and 11, and in December
2010, it approved Gardasil for the purported prevention of anal cancer in males and females ages
nine through 26.
       49.     Subsequently, Merck sought approval for Gardasil 9 (containing the same
ingredients as Gardasil, but in higher quantities), which purportedly guarded against five
additional HPV strains currently associated with cervical cancer and anal cancer (HPV Types 31,
33, 45, 52 and 58) than the original Gardasil, for a total of nine strains.
       50.     The FDA approved Gardasil 9 in December 2014, for use in girls ages nine
through 26 and boys ages nine through 15 for the purported prevention of cervical, vaginal, and
anal cancers. Presently, Gardasil 9 has been approved for and is being promoted by Merck to
males and females who are between nine and 45 years of age, with an emphasis by Merck on
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marketing to pre-teen children and their parents. With little evidence of efficacy, the FDA also
recently approved, on an accelerated basis, Gardasil 9 for prevention of oropharyngeal and other
head and neck cancers.
       51.     After the approval of the Gardasil 9 vaccine, the original Gardasil vaccine was
phased out of the U.S. Market; and the original Gardasil vaccine is no longer available for sale in
the United States.
       52.     According to data from the National Cancer Institute’s (“NCI”) Surveillance,
Epidemiology and End Results Program (“SEER”), the incidence of deaths from cervical cancer
prior to Gardasil’s introduction in the United States had been steadily declining for years and, in
2006, was 2.4 per 100,000 women or approximately 1 in every 42,000 women. The currently
available rate is essentially unchanged, 2.2 per 100,000 women, based on data through 2017.
       53.     The median age of death from cervical cancer is 58, and death from anal cancer is
66, and teenagers (who are the target population of Gardasil) essentially have zero risk of dying
from cervical or anal cancer.
       54.     Merck purchased fast-track review for Gardasil and Gardasil 9 under the
Prescription Drug User Fee Act (“PDUFA”). Fast-track is a process designed to facilitate the
development of drugs, and to expedite their review, in order to treat serious conditions and fill an
unmet medical need.
       55.     Anxious to get Gardasil onto the market as soon as possible following the Vioxx
debacle, Merck sought fast-track approval even though there already existed a highly effective
and side-effect free intervention, Pap smears, with no evidence that Gardasil was potentially
superior to Pap smears in preventing cervical cancer.
       56.     In fact, the clinical trials Merck undertook did not even examine Gardasil’s
potential to prevent cancer, rather, the trials only analyzed whether Gardasil could prevent
potential precursor conditions, i.e., HPV infections and cervical interepithelial neoplasia (“CIN”)
lesions graded from CIN1 (least serious) to CIN3 (most serious), the vast majority of which
resolve on their own without intervention. CIN2 and CIN3 were the primary surrogate endpoints
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studied. Likewise, the clinical trials from Gardasil did not examine Gardasil’s potential to
prevent anal cancer, rather, the trials similarly only look at anal intraepithelial neoplasia (“AIN”)
lesions graded 1 through 3, and the Gardasil 9 studies did not even include any studies
concerning the efficacy of Gardasil in preventing anal lesions.
       57.     According to the FDA, whether a condition is “serious” depends on such factors
as “survival, day-to-day functioning, or the likelihood that the condition, if left untreated, will
progress from a less severe condition to a more serious one.”
       58.     As previously discussed, over 90 percent of HPV infections and the majority of
cervical dysplasia, resolve without intervention.
       59.     However, Merck presented misleading data to the FDA suggesting that CIN2 and
CIN3 inexorably result in cancer.
       60.     Federal law allows fast-track approval when there is no existing intervention to
treat the targeted disease or where the proposed treatment is potentially superior to an existing
treatment.
       61.     Merck knows (and knew) that Gardasil and Gardasil 9 are far less effective than
Pap tests in preventing cervical cancer.
       62.     In order to obtain FDA approval, Merck designed and conducted a series of
fraudulent Gardasil studies and then influenced the votes of the FDA’s Vaccines and Related
Biological Products Advisory Committee (“VRBPAC”) and the CDC’s Advisory Committee on
Immunization Practices (“ACIP”) to win both an FDA license and a CDC/ACIP approval and
recommendation that all 11 and 12 year old girls should be vaccinated with Gardasil.
       63.     That ACIP “recommendation” was, effectively, a mandate to doctors to sell
Merck’s very expensive vaccine, thereby compelling parents of American children as young as
nine years old to buy this expensive product. With ACIP’s recommendation, Merck was
emboldened to build demand through direct-to-consumer advertising and door-to-door marketing
to doctors, and, with the ACIP’s blessing of the vaccine, circumvented the need to create a
traditional market for the product.
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       64.       Julie Gerberding, then the Director of CDC, obligingly ushered the Gardasil
vaccine through CDC’s regulatory process manifestly ignoring clear evidence that Gardasil’s
efficacy was unproven and that the vaccine was potentially dangerous.
       65.       Merck, shortly thereafter, rewarded Gerberding by naming her President of Merck
Vaccines in 2010.
       66.       In addition to the revolving regulatory/industry door, (wherein the Director of
CDC who approved the vaccine is subsequently employed by the manufacturer as a high-level
executive to oversee the commercial success of the vaccine she previously approved), it is also
worth noting some of the other conflicts of interest that exist within governmental agencies in
relation to the facts surrounding Gardasil. Scientists from the National Institute of Health
(“NIH”), which is a division of the United States Department of Health and Human Services
(“HHS”), discovered a method of producing “virus-like-particles” (“VLPs”) that made creation
of the Gardasil vaccine possible. The NIH scientists’ method of producing VLPs was patented
by the Office of Technology Transfer (“OTT”), which is part of the NIH, and the licensing rights
were sold to Merck (for manufacture of Gardasil). Not only does the NIH (and, in effect, the
HHS) receive royalties from sales of Gardasil, but the scientists whose names appear on the
vaccine patents can receive up to $150,000 per year (in perpetuity). Accordingly, the Gardasil
patents have earned HHS, NIH and the scientists who invented the technology millions of dollars
in revenue.
       67.       Moreover, members of ACIP have been allowed to vote on vaccine
recommendations even if they have financial ties to drug companies developing similar vaccines.
According to a 2000 U.S. House of Representatives investigation report, the majority of the
CDC’s eight ACIP committee members had conflicts of interest. The Chairman of ACIP served
on Merck’s Immunization Advisory Board and a number of the other ACIP members had
received grants, salaries, or other forms of remuneration from Merck
     C.       Merck Engaged in Disease Mongering and False Advertising to Enhance
              Gardasil Sales

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       68.     Both prior to and after the approval of Gardasil, Merck engaged in unscrupulous
marketing tactics designed to overemphasize both the risks associated with HPV and the
purported efficacy of Gardasil to scare the public into agreeing to mass vaccinations of the
Gardasil vaccine.
       69.     Prior to Merck’s aggressive marketing campaign, there was no HPV public health
emergency in high-resource countries, such as the United States.
       70.     Most women had never heard of HPV. The NCI’s 2005 Health Information
National Trends Survey (“HINTS”) found that, among U.S. women 18 to 75 years old, only 40
percent had heard of HPV. Among those who had heard of HPV, less than half knew of an
association between HPV and cervical cancer. Furthermore, only four percent knew that the vast
majority of HPV infections resolve without treatment.
       71.     The stage was set for Merck to “educate” the public about HPV, cervical cancer,
and Gardasil, all to Merck’s advantage.
       72.     Merck preceded its rollout of Gardasil with years of expensive disease awareness
marketing. Merck ran “Tell Someone” commercials, designed to strike fear in people about
HPV and cervical cancer – even ominously warning that you could have HPV and not know it.
The commercials could not mention Gardasil, which had not yet been approved by FDA, but did
include Merck’s logo and name. Critics of Merck’s pre-approval advertising and promotion
called it “deceptive and dishonest.” While Merck claims the promotion was part of public health
education, critics complained that this “education” was designed to sell Gardasil and build the
market for the vaccine. See Angela Zimm and Justin Blum, Merck Promotes Cervical Cancer
Shot by Publicizing Viral Cause, BLOOMBERG NEWS, May 26, 2006.
       73.     A year before obtaining licensing for its vaccine, Merck engaged in a major
offensive in “disease branding” to create a market for its vaccine out of thin air. See Beth
Herskovits, Brand of the Year, PHARMEXEC.COM, February 1, 2007.
http://www.pharmexec.com/brand-year-0


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          74.   Merck also engaged in a relentless propaganda campaign aimed at frightening and
guilting parents who failed to inoculate their children with Gardasil.
          75.   In addition to paid advertising, Merck worked with third parties to “seed” an
obliging media with terrifying stories about cervical cancer in preparation for Merck’s Gardasil
launch.
          76.   Prior to the FDA’s 2006 approval of Gardasil, the mainstream media – under
direction of Merck and its agents – dutifully reported alarming cervical cancer stories,
accompanied by the promotion of an auspicious vaccine.
          77.   Merck intended its campaign to create fear and panic and a public consensus that
“good mothers vaccinate” their children with Gardasil. According to Merck propagandists, the
only choice was to “get the vaccine immediately” or “risk cervical or anal cancer.”
          78.   Merck aggressively and fraudulently concealed the risks of the vaccine in
broadcast materials and in propaganda that it disseminated in the United States.
          79.   Merck sold and falsely promoted Gardasil knowing that, if consumers were fully
informed about Gardasil’s risks and dubious benefits, almost no one would have chosen to
vaccinate.
          80.   Merck negligently and fraudulently deprived parents and children of their right to
informed consent.
          81.   One of Merck’s television campaigns, conducted in 2016, shamelessly used child
actors and actresses, implicitly dying of cancer, looking straight into the camera and asking their
parents whether or not they knew that the HPV vaccine could have protected them against the
HPV virus that caused them to develop their cancers. Each actor asked the following question:
“Did you know? Mom? Dad?” See “Mom, Dad, did you know?” commercial:
https://www.ispot.tv/ad/Ap1V/know-hpv-hpv-vaccination. Merck spent $41 million over two
months on the campaign. The ads said nothing about potential side effects. Merck also
distributed pamphlets via U.S. mail to doctors ahead of the ad’s release to encourage them to
share it with their patients:
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       82.      Merck’s fraudulent message was that cervical cancer and anal cancer were real-
life killers of young men and women, notwithstanding the fact that the average age for
development of cervical cancer is 50 years old, average age of development of anal cancer is 60
years old and that the cancer is virtually nonexistent in men and women under 20.
       83.      Other television marketing campaigns Merck launched falsely proclaimed that
Gardasil was a “cervical cancer vaccine” and that any young girl vaccinated with Gardasil would
become “one less” woman with cervical cancer. The “One Less” marketing campaign portrayed
Gardasil as if there were no question as to the vaccine’s efficacy in preventing cervical cancer,
and it disclosed none of Gardasil’s side effects.
       84.      Merck marketed Gardasil with the most aggressive campaign ever mounted to
promote a vaccine, spending more on Gardasil advertising than any previous vaccine advertising
campaign.

     D.      Merck Used Scare Tactics and Provided Financial Incentives to Legislatures to
             Attempt to make the Gardasil Vaccine Mandatory for All School Children
       85.      An ACIP recommendation of a vaccine, adopted by individual states, opens the
door to mandates affecting as many as four million children annually.
       86.      With Gardasil costing $360 for the original three-dose series (exclusive of the
necessary doctor’s visits) and Gardasil 9 now priced at $450 for two doses (again, not including



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the cost of doctor’s visits), Merck stood to earn billions of dollars per year, in the US alone, with
little marketing costs.
       87.     Prior to Gardasil’s approval in 2006, Merck was already targeting political figures
to aid in the passage of mandatory vaccination laws.
       88.     As early as 2004, a group called Women in Government (“WIG”) started
receiving funding from Merck and other drug manufacturers who had a financial interest in the
vaccine.
       89.     With the help of WIG, Merck aggressively lobbied legislators to mandate
Gardasil to all sixth-grade girls. See Michelle Mello et al., Pharmaceutical Companies’ Role in
State Vaccination Policymaking: The Case of Human Papillomavirus Vaccination, 102
AMERICAN J PUBLIC HEALTH 893 (May 2012).
       90.     In 2006, Democratic Assembly leader Sally Lieber of California introduced a bill
that would require all girls entering sixth grade to receive the Gardasil vaccination. Lieber later
dropped the bill after it was revealed there was a possible financial conflict of interest.
       91.     Prior to the introduction of the bill, Lieber met with WIG representatives. In an
interview, the President of WIG, Susan Crosby, confirmed that WIG funders have direct access
to state legislators, in part through the organization’s Legislative Business Roundtable, of which
WIG funders are a part. See Judith Siers-Poisson, The Gardasil Sell Job, in CENSORED 2009:
THE TOP 25 CENSORED STORIES OF 2007-08, 246 (Peter Philips ed. 2011).
       92.     Dr. Diane Harper, a medical doctor and scientist who was hired as a principal
investigator on clinical trials for Gardasil gave an interview for an article on the HPV vaccines
and WIG in 2007. Harper, who had been a major presenter at a WIG meeting in 2005, stated that
“the Merck representative to WIG was strongly supporting the concept of mandates later in the
WIG meetings and providing verbiage on which the legislators could base their proposals.”
       93.     WIG was one of dozens of “pay to play” lobby groups that Merck mobilized to
push HPV vaccine mandates.


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        94.       Another group, the National Association of County and City Health Officials
(NACCHO), was also pushing HPV vaccine mandates in all 50 states.
        95.       To that end, Merck made large contributions to political campaigns and legislative
organizations. By February 2007, 24 states and the District of Columbia had introduced mandate
legislation.
        96.       Several states passed laws allowing preteen children as young as age 12 to
“consent” to vaccination with an HPV vaccine without parental consent or knowledge.
        97.       One New York state county offered children free headphones and speakers to
encourage them to consent to the Gardasil vaccine. See Mary Holland et al., THE HPV VACCINE
ON TRIAL: SEEKING JUSTICE FOR A GENERATION BETRAYED 131 (2018).
        98.       Merck funneled almost $92 million to Maryland’s Department of Health between
2012 and 2018 to promote Gardasil in Maryland schools, in a fraudulent campaign that paid
school officials to deliberately deceive children and parents into believing Gardasil was
mandatary for school attendance. Josh Mazer, Maryland should be upfront about HPV
vaccinations for children, CAPITAL GAZETTE, August 14, 2018, at
https://www.capitalgazette.com/opinion/columns/ac-ce-column-mazer-20180814-story.html.
      E.       Merck Pushed Gardasil Using Trusted Doctors and Third-Party Front Groups
        99.       In order to mobilize “third-party credibility” to push Gardasil, Merck gave
massive donations to dozens of nonprofit groups to “educate” the public via “education grants.”
For example, a disclaimer on American College of Obstetricians and Gynecologists’
Immunization for Women website stated that “[t]his website is supported by an independent
educational grant from Merck and Sanofi Pasteur US.”
        100.      Merck offered influential doctors (also known as “key opinion leaders”) $4,500
for every Gardasil lecture they gave.
        101.      Among the allegedly independent organizations Merck recruited to push Gardasil
were the Immunization Coalition, the Allegheny County Board of Health, the Eye and Ear


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Foundation, the Jewish Healthcare Foundation, the American Dental Association, the American
College of Obstetricians and Gynecologists, and the American Cancer Society.

     F.      Merck Has Systematically Misrepresented the Efficacy of Gardasil By
             Advertising that Gardasil Prevents Cervical Cancer When There Are No
             Clinical Studies to Support This False Claim
          102.   Merck faced a daunting problem in convincing regulators, doctors, and the public
to accept the Gardasil vaccine.
          103.   Merck recommends the vaccine for children aged 11 to 12 years old, to provide
protection against a disease that, in the United States, is not generally diagnosed until a median
age of 50. Moreover, in those rare instances of death, the median age is 58.
          104.   There are no studies proving that Gardasil prevents cancer.
          105.   Because it can take decades for a persistent HPV infection to proceed to
development of cervical or anal cancer, and because cervical and anal cancers are so rare, a true
efficacy study would require decades and likely hundreds of thousand – if not millions – of trial
participants to demonstrate that eliminating certain HPV infections would actually prevent the
development of cervical and anal cancer.
          106.   Merck did not want to invest the time or money necessary to perform testing that
would prove that its vaccine actually worked to prevent cervical and anal cancer.
          107.   Instead, Merck persuaded regulators to allow it to use “surrogate endpoints” to
support its theory that the HPV vaccines would be effective in preventing cervical and anal
cancer.
          108.   The clinical trials therefore did not test whether HPV vaccines prevent cervical,
anal or other cancers. Instead, Merck tested the vaccines against development of certain cervical
lesions, which some researchers suspect are precursors to cancer, although the majority of these
lesions – even the most serious – regress on their own. See, e.g., Jin Yingji et al., Use of
Autoantibodies Against Tumor-Associated Antigens as Serum Biomarkers for Primary Screening
of Cervical Cancer, 8 ONCOTARGET 105425 (Dec. 1, 2017); Philip Castle et al., Impact of
Improved Classification on the Association of Human Papillomavirus With Cervical Precancer,
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171 AMERICAN JOURNAL OF EPIDEMIOLOGY 161 (Dec. 10, 2009); Karoliina Tainio et al., Clinical
Course of Untreated Cervical Intraepithelial Neoplasia Grade 2 Under Active Surveillance:
Systematic Review and Meta-Analysis, 360 BRIT. MED. J. k499 (Jan. 16, 2018).
       109.    The Department of Health and Human Services (HHS), which oversees the FDA,
and which also stood to make millions of dollars on the vaccine from patent royalties, allowed
the use of Merck’s proposed surrogate endpoints.
       110.    The surrogate endpoints chosen by Merck to test the efficacy of its HPV vaccine
were cervical and anal intraepithelial neoplasia (CIN) grades 2 and 3 and adenocarcinoma in situ.
       111.    Merck used these surrogate endpoints even though it knew that these precursor
lesions are common in young women under 25 and rarely progress to cancer.
       112.    At the time FDA approved the vaccine, Merck’s research showed only that
Gardasil prevented certain lesions (the vast majority of which would have resolved on their own
without intervention) and genital warts – not cancer itself, and only for a few years at that.
       113.    The use of these surrogate endpoints allowed Merck to shorten the clinical trials
to a few years and gain regulatory approvals of the vaccines without any evidence the vaccines
would prevent cancer in the long run.
       114.    Merck’s advertisements assert that the HPV vaccine prevents cervical cancer. For
example, in a presentation to medical doctors, Merck proclaimed: “Every year that increases in
coverage [of the vaccine] are delayed, another 4,400 women will go on to develop cervical
cancer.” The presentation goes on to tell doctors that women who do not get the vaccine will go
on to develop cancer.
       115.    Merck’s foundational theory that HPV alone causes cervical and anal cancer,
while dogmatically asserted, is not proven.
       116.    Research indicates that cervical and anal cancer is a multi-factor disease with
persistent HPV infections seeming to play a role, along with many other environmental and
genetic factors, including smoking cigarettes or exposure to other toxic smoke sources, long-term
use of oral contraceptives, nutritional deficiencies, multiple births (especially beginning at an
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early age), obesity, inflammation, and other factors. Not all cervical and anal cancer is
associated with HPV types in the vaccines and not all cervical and anal cancer is associated with
HPV at all.
        117.   Despite the lack of proof, Merck claimed that Gardasil could eliminate cervical
and anal cancer and other HPV-associated cancers.
        118.   However, Merck knows that the Gardasil vaccines cannot eliminate all cervical
and anal cancer or any other cancer that may be associated with HPV.
        119.   Even assuming the Gardasil vaccine is effective in preventing infection from the
four to nine vaccine-targeted HPV types, the results may be short term, not guaranteed, and
ignore the 200 or more other types of HPV not targeted by the vaccine, and some of which
already have been associated with cancer.
        120.   Even assuming these vaccine-targets are the types solely responsible for 100
percent of cervical and anal cancer – which they are not – the vaccines have not been followed
long enough to prove that Gardasil protects girls and boys from cancer that would strike them 40
years later.
        121.   Under Merck’s hypothetical theory, the reduction of pre-cancerous lesions should
translate to fewer cases of cervical and anal cancer in 30 to 40 years.
        122.   Cervical and anal cancer takes decades to develop and there are no studies that
prove the Gardasil vaccines prevent cancer.
        123.   In January 2020, a study from the UK raised doubts about the validity of the
clinical trials in determining the vaccine’s potential to prevent cervical cancer. The analysis,
carried out by researchers at Newcastle University and Queen Mary University of London,
revealed many methodological problems in the design of the Phase 2 and 3 trials, leading to
uncertainty regarding understanding the effectiveness of HPV vaccination. See Claire Rees et
al., Will HPV Vaccine Prevent Cancer? J. OF THE ROYAL SOC. OF MED. 1-15 (2020).




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       124.        As Dr. Tom Jefferson of the Centre for Evidence-Based Medicine pointed out:
“The reason for choosing vaccination against HPV was to prevent cancer but there’s no clinical
evidence to prove it will do that.”
       125.     Gardasil has never been proven to prevent cervical or any other kind of cancer.
       126.     Yet Merck has marketed the Gardasil vaccines as if there is no question regarding
their efficacy at preventing cervical and anal cancer. In reality, they are at best protective against
only four to nine of the over 200 strains of the human papillomavirus.

     G.    The Gardasil Vaccines Contain Numerous Hazardous Ingredients, Including At
           Least One Ingredient Merck Failed to Disclose to Regulators and the Public

              i.        Gardasil Contains a Toxic Aluminum Adjuvant
       127.    To stimulate an enhanced immune response that allegedly might possibly last for
50 years, Merck added to the Gardasil vaccine a particularly toxic aluminum-containing adjuvant
– Amorphous Aluminum Hydroxyphosphate Sulfate (“AAHS”).
       128.    Aluminum is a potent neurotoxin that can result in very serious harm.
       129.    The original Gardasil vaccine contains 225 micrograms of AAHS and Gardasil 9
contains 500 micrograms of AAHS.
       130.    Federal law requires that manufacturers cannot add adjuvants to vaccines that
have not been proven safe. 21 C.F.R. § 610.15(a).
       131.    AAHS has never been proven safe. AAHS is a recent proprietary blend of
aluminum and other unknown ingredients developed by Merck and used in Merck vaccines,
including Gardasil.
               ii.      Prior vaccines have used a different aluminum formulation.
       132.    Peer-reviewed studies show that aluminum binds to non-vaccine proteins,
including the host’s own proteins, or to latent viruses, triggering autoimmune and other serious
conditions. See Darja Kanduc, Peptide Cross-reactivity: The Original Sin of Vaccines, 4
FRONTIERS IN BIOSCIENCE 1393 (June 2012).



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       133.       Aluminum, including AAHS, has been linked to scores of systemic side effects
including, but not limited to: impairing cognitive and motor function; inducing autoimmune
interactions; increasing blood brain barrier permeability; inducing macrophagic myofascitis in
muscle; blocking neuronal signaling; interrupting cell-to-cell communications; corrupting
neuronal-glial interactions; interfering with synaptic transmissions; altering enzyme function;
impairing protein function; fostering development of abnormal tau proteins; and altering DNA.

           iii.      Merck Lied About a Secret DNA Adjuvant Contained in The Gardasil
                     Vaccines
       134.       Merck has repeatedly concealed or incorrectly identified Gardasil ingredients to
the FDA and the public.
       135.       Merck lied both to the FDA and the public about including a secret and
potentially hazardous ingredient, HPV LI-DNA fragments, in Gardasil. These DNA fragments
could act as a Toll-Like Receptor 9 (“TLR9”) agonist – further adjuvanting the vaccine and
making it more potent. Merck used this hidden adjuvant to prolong the immunological effects of
the vaccine, but illegally omitted it from its list of substances and ingredients in the vaccine.
       136.       Dr. Sin Hang Lee has opined that, without adding the TLR9 agonist, Gardasil
would not be immunogenic. The DNA fragments bound to the AAHS nanoparticles act as the
TLR9 agonist in both Gardasil and Gardasil 9 vaccines, creating the strongest immune-boosting
adjuvant in use in any vaccine.
       137.       On multiple occasions, Merck falsely represented to the FDA and others,
including regulators in other countries, that the Gardasil vaccine did not contain viral DNA,
ignoring the DNA fragments.
       138.       This DNA adjuvant is not approved by the FDA and Merck does not list it among
the ingredients as federal law requires. See 21 C.F.R. § 610.61(o) (requiring that adjuvants be
listed on biologics’ labeling). Even if not an adjuvant, the DNA fragments should have been
listed because they represent a safety issue. 21 C.F.R. §610.61(n).



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       139.       It is unlawful for vaccine manufacturers to use an experimental and undisclosed
adjuvant.
       140.       When independent scientists found DNA fragments in every Gardasil vial tested,
from all over the world, Merck at first denied, and then finally admitted, the vaccine does indeed
include HPV L1-DNA fragments.
       141.       Tellingly, Merck entered into a business arrangement with Idera Pharmaceuticals
in 2006 to explore DNA adjuvants to further develop and commercialize Idera’s toll-like
receptors in Merck’s vaccine program.
       142.       To this day, the Gardasil package inserts do not disclose that DNA fragments
remain in the vaccine.
       143.       Dr. Lee also found HPV DNA fragments from the Gardasil vaccine in post-
mortem spleen and blood samples taken from a young girl who died following administration of
the vaccine. See Sin Hang Lee, Detection of Human Papillomavirus L1 Gene DNA Fragments in
Postmortem Blood and Spleen After Gardasil Vaccination—A Case Report, 3 ADVANCES IN
BIOSCIENCE AND BIOTECHNOLOGY 1214 (December 2018).
       144.       Those fragments appear to have played a role in the teenager’s death.
       145.       The scientific literature suggests there are grave and little-understood risks
attendant to injecting DNA into the human body.
            iv.      Gardasil Contains Borax
       146.       Gardasil contains sodium borate (borax). Borax is a toxic chemical and may have
long-term toxic effects.
       147.       Merck has performed no studies to determine the impact of injecting borax into
millions of young children or adults.
       148.       Sodium borate is known to have adverse effects on male reproductive systems in
rats, mice, and dogs. Furthermore, borax causes increased fetal deaths, decreased fetal weight,
and increased fetal malformations in rats, mice, and rabbits.


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         149.     The European Chemical Agency requires a “DANGER!” warning on borax and
states that borax “may damage fertility or the unborn child.”
         150.     The Material Safety Data Sheet (“MSDS”) for sodium borate states that sodium
borate “[m]ay cause adverse reproductive effects” in humans.
         151.     The FDA has banned borax as a food additive in the United States, and yet allows
Merck to use it in the Gardasil vaccine without any proof of safety.
            v.     Gardasil Contains Polysorbate 80
         152.     Gardasil contains Polysorbate 80.
         153.     Polysorbate 80 crosses the blood-brain barrier.
         154.     Polysorbate 80 is used in drugs to open up the blood brain barrier in order to
allow the active ingredients in a drug to reach the brain and to elicit the intended response. It
acts as an emulsifier for molecules like AAHS and aluminum, enabling those molecules to pass
through resistive cell membranes.
         155.     Polysorbate 80 is associated with many health injuries, including, anaphylaxis,
infertility and cardiac arrest.
         156.     Polysorbate 80 was implicated as a cause, possibly with other components, of
anaphylaxis in Gardasil recipients in a study in Australia. See Julia Brotherton et al.,
Anaphylaxis Following Quadrivalent Human Papillomavirus Vaccination, 179 CANADIAN
MEDICAL ASSOC. J. 525 (September 9, 2008). Merck never tested Polysorbate 80 for safety in
vaccines.
            vi.    Gardasil Contains Genetically Modified Yeast
         157.     Gardasil contains genetically modified yeast.
         158.     Studies have linked yeast with autoimmune conditions. See, e.g., Maurizo Rinaldi
et al., Anti-Saccharomyces Cerevisiae Autoantibodies in Autoimmune Diseases: from Bread
Baking to Autoimmunity, 45 CLINICAL REVIEWS IN ALLERGY AND IMMUNOLOGY 152 (October
2013).
         159.     Study participants with yeast allergies were excluded from Gardasil clinical trials.
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       160.    Merck has performed no studies to determine the safety of injecting yeast into
millions of children and young adults.

     H.    As it Did in Vioxx, In Designing and Conducting Its Clinical Trials for Gardasil,
           Merck Concealed Risks to Falsely Enhance the Safety Profile of Gardasil
       161.    Merck engaged in wholesale fraud during its safety and efficacy clinical studies.
       162.    In order to obtain its Gardasil license, Merck designed its studies purposefully to
conceal adverse events and exaggerate efficacy.
       163.    Merck sold Gardasil to the public falsely claiming that pre-licensing safety tests
proved it to be effective and safe.
       164.    In fact, Merck’s own pre-licensing studies showed Gardasil to be of doubtful
efficacy and dangerous.
       165.    The dishonesty in the clinical tests has led many physicians to recommend the
vaccination, under false assumptions.
       166.    The clinical trials clearly demonstrated that the risks of both Gardasil and
Gardasil 9 vastly outweigh any proven or theoretical benefits.
       167.    Merck deliberately designed the Gardasil protocols to conceal evidence of chronic
conditions such as autoimmune diseases, menstrual cycle problems and death associated with the
vaccine during the clinical studies.
       168.    Merck employed deceptive means to cover up injuries that study group
participants suffered.
       169.    In early 2018, Lars Jørgensen, M.D., Ph.D. and Professor Peter Gøtzsche, M.D.
(then with the Nordic Cochrane Centre), and Professor Tom Jefferson, M.D., of the Centre for
Evidence-Based Medicine, published a study indexing all known industry and non-industry HPV
vaccine clinical trials and were disturbed to find that regulators such as the FDA and EMA
(European Medicines Agency) assessed as little as half of all available clinical trial results when
approving the HPV vaccines. Lars Jørgensen et al., Index of the Human Papillomavirus (HPV)
Vaccine Industry Clinical Study Programmers and Non-Industry Funded Studies: a Necessary

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Basis to Address Reporting Bias in a Systematic Review, 7 SYSTEMATIC REVIEWS (January 18,
2018).
         170.   Per the indexing study discussed above, Merck appears to have kept a number of
its clinical trial results secret. Moreover, it appears that Merck reported only those findings that
support its own agenda.
         171.   Three separate reviews of the Gardasil vaccine by the Cochrane Collaboration
found that the trial data were “largely inadequate.”
         172.   According to Dr. Tom Jefferson, “HPV [vaccine] harms have not been properly
studied.”
         173.   In 2019, numerous medical professionals published an article in the British
Medical Journal outlining the flaws and incomplete nature of the publications discussing
Merck’s Gardasil clinical trials. The authors issued a “call to action” for independent researchers
to reanalyze or “restore the reporting of multiple trials in Merck’s clinical development program
for quadrivalent human papillomavirus (HPV) vaccine (Gardasil) vaccine.” Peter Doshi et al.,
Call to Action: RIAT Restoration of Previously Unpublished Methodology in Gardasil Vaccine
Trials, 346 BRIT. MED. J. 2865 (2019). The authors explained that the highly influential
publications of these studies, which formed the basis of Gardasil’s FDA approval, “incompletely
reported important methodological details and inaccurately describe the formulation that the
control arm received, necessitating correction of the record.” Id. The authors explained that,
while the publications claimed the clinical trials of Gardasil were “placebo-controlled,”
“participants in the control arm of these trials did not receive an inert substance, such as saline
injection. Instead, they received an injection containing [AAHS], a proprietary adjuvant system
that is used in Gardasil to boost immune response.” Id.
         174.   The researchers further opined that “the choice of AAHS-containing controls
complicates the interpretation of efficacy and safety results in trials … We consider the omission
in journal articles, of any rationale for the selection of AAHS-containing control, to be a form of
incomplete reporting (of important methodological details) and believe the rationale must be
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reported. We also consider that use of the term ‘placebo’ to describe an active comparator like
AAHS inaccurately describes the formulation that the control arm received, and constitutes an
important error that requires correction.” Id.
       175.      The authors pointed out that Merck’s conduct “raises ethical questions about trial
conduct as well” and that they and other scientists would need to review the Gardasil clinical
trial raw data, in order to be able to analyze the safety and adverse event profile of Gardasil
meaningfully and independently. Id.
          i.     Small Clinical Trials
       176.      Although nine to 12-year-olds are the primary target population for HPV
vaccines, Merck used only a small percentage of this age group in the clinical trials. Protocol
018 was the only protocol comparing children receiving a vaccine to those who did not. In that
study, Merck looked at results of fewer than 1,000 children 12 and younger for a vaccine
targeting billions of boys and girls in that age group over time. In Protocol 018, 364 girls and
332 boys (696 children) were in the vaccine cohort, while 199 girls and 173 boys (372 children)
received a non-aluminum control.
       177.
                 The small size of this trial means that it was incapable of ascertaining all injuries
that could occur as a result of the vaccine.
               ii.   Merck Used a Highly Toxic “Placebo” to Mask Gardasil Injuries
       178.      Instead of comparing health outcomes among volunteers in the Gardasil study
group to health outcomes among volunteers receiving an inert placebo, Merck purposefully used
a highly toxic placebo as a control in order to conceal Gardasil’s risks in all trials using
comparators with the exception of Protocol 018, where only 372 children received a non-saline
placebo containing everything in the vaccine except the adjuvant and antigen.
       179.      Comparing a new product against an inactive placebo provides an accurate picture
of the product’s effects, both good and bad. The World Health Organization (“WHO”)
recognizes that using a toxic comparator as a control (as Merck did here) creates a


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“methodological disadvantage.” WHO states that “it may be difficult or impossible to assess the
safety” of a vaccine when there is no true placebo.
        180.   Merck deliberately used toxic “placebos” in the control group, in order to mask
harms caused by Gardasil to the study group.
        181.   Instead of testing Gardasil against a control with a true inert placebo, Merck
tested its vaccine in almost all clinical trials against its highly neurotoxic aluminum adjuvant,
AAHS.
        182.   Merck gave neurotoxic aluminum injections to approximately 10,000 girls and
young women participating in Gardasil trials, to conceal the dangers of Gardasil vaccines.
        183.   Merck never safety tested AAHS before injecting it into thousands of girls and
young women in the control groups and the girls and young women were not told they could
receive an aluminum “placebo.” Merck told the girls that they would receive either the vaccine
or a safe inert placebo.
        184.   Merck violated rules and procedures governing clinical trials when it lied to the
clinical study volunteers, telling them that the placebo was an inert saline solution – when in
reality the placebo contained the highly neurotoxic aluminum adjuvant AAHS.
        185.   AAHS provoked terrible injuries and deaths in a number of the study participants
when Merck illegally dosed the control group volunteers with AAHS.
        186.   Since the injuries in the Gardasil group were replicated in the AAHS control
group, this scheme allowed Merck to falsely conclude that Gardasil’s safety profile was
comparable to the “placebo.”
        187.   The scheme worked and enabled Merck to secure FDA licensing.
        188.   Merck lied to the FDA when it told public health officials that it had used a saline
placebo in Protocol 018.
        189.   There was no legitimate public health rationale for Merck’s failure to use a true
saline placebo control in the original Gardasil clinical trials. At that time, no other vaccine was
yet licensed for the four HPV strains Gardasil was intended to prevent.
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        190.      A small handful of girls in a subsequent Gardasil 9 trial group, may have received
the saline placebo, but only after they had already received three doses of Gardasil for the
Gardasil 9 trial.

           iii.     Merck Used Exclusionary Criteria to Further Conceal Gardasil Risks
        191.      Merck also manipulated the Gardasil studies by excluding nearly half of the
original recruits to avoid revealing the effects of the vaccine on vulnerable populations.
        192.      After recruiting thousands of volunteers to its study, Merck excluded all women
who had admitted to vulnerabilities that might be aggravated by the vaccine, such as abnormal
Pap tests or a history of immunological or nervous system disorders.
        193.      Women could also be excluded for “[a]ny condition which in the opinion of the
investigator might interfere with the evaluation of the study objectives.”
        194.      Merck’s protocol had exclusion criteria for subjects with allergies to vaccine
ingredients including aluminum (AAHS), yeast, and the select enzymes. For most of these
ingredients, there are limited resources for the public to test for such allergies in advance of
being vaccinated.
        195.      Merck excluded anyone with serious medical conditions from the Gardasil
clinical trials, even though CDC recommends the Gardasil vaccine for everyone, regardless of
whether or not they suffer from a serious medical condition.
        196.      Merck sought to exclude from the study all subjects who might be part of any
subgroup that would suffer injuries or adverse reactions to any of Gardasil’s ingredients.
        197.      The study exclusion criteria are not listed as warnings on the package inserts and
the package insert for Gardasil only mentions an allergy to yeast or to a previous dose of
Gardasil as a contraindication, rather than an allergy to any other component. Nonetheless, for
most of the ingredients, it is almost impossible to determine if such an allergy exists prior to
being vaccinated and Merck does not recommend allergy testing before administering the
vaccine.


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       198.     Instead of testing the vaccine on a population representative of the cross-section
of humans who would receive the approved vaccine, Merck selected robust, super-healthy trial
participants, who did not reflect the general population, in order to mask injurious effects on all
the vulnerable subgroups that now receive the vaccine. Therefore, the population tested in the
clinical trials was a much less vulnerable population than the population now receiving Gardasil.

         iv.     Merck Deceived Regulators and The Public by Classifying Many Serious
                 Adverse Events, Which Afflicted Nearly Half of All Study Participants, As
                 Coincidences
       199.     Because Merck did not use a true placebo, determining which injuries were
attributable to the vaccine and which were attributable to unfortunate coincidence was entirely
within the discretion of Merck’s paid researchers.
       200.     In order to cover up and conceal injuries from its experimental vaccine, Merck,
during the Gardasil trials, employed a metric, “new medical conditions,” that allowed the
company to dismiss and fraudulently conceal infections, reproductive disorders, neurological
symptoms, and autoimmune conditions, which affected a troubling 50 percent of all clinical trial
participants.
       201.     Merck’s researchers systematically dismissed reports of serious adverse events
from 49 percent of trial participants in order to mask the dangers of the vaccine.
       202.     Instead of reporting these injuries as “adverse events,” Merck dismissed
practically all of these illnesses and injuries as unrelated to the vaccine by classifying them under
its trashcan metric “new medical conditions,” a scheme Merck could get away with only because
it used a “spiked” (poisonous) placebo, that was yielding injuries at comparable rates.
       203.     Merck’s use of a toxic placebo allowed the company to conceal from the public
an epidemic of autoimmune diseases and other injuries and deaths associated with its multi-
billion-dollar HPV vaccine.
       204.     Because Merck conducted its studies without a true placebo, Merck investigators
had wide discretion to decide what constituted an adverse event and used that power to dismiss a
wave of grave vaccine injuries, injuries that sickened half of the trial volunteers, as coincidental.
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        205.     Almost half (49 percent) of all trial participants, regardless of whether they
received the vaccine or Merck’s toxic placebo, reported adverse events, including serious
illnesses such as blood, lymphatic, cardiac, gastrointestinal, immune, musculoskeletal,
reproductive, neurological and psychological conditions, chronic illnesses such as thyroiditis,
arthritis and multiple sclerosis, and conditions requiring surgeries. See, e.g., Nancy B. Miller,
Clinical Review of Biologics License Application for Human Papillomavirus 6, 11, 16, 18 L1
Virus Like Particle Vaccine (S. cerevisiae) (STN 125126 GARDASIL), manufactured by Merck,
Inc. at 393-94 (Table 302) (June 8, 2006).

            v.     Merck Manipulated the Study Protocols to Block Participants and Researchers
                   from Reporting Injuries and Designed the Studies to Mask Any Long-Term
                   Adverse Events
        206.     Merck adopted multiple strategies to discourage test subjects from reporting
injuries.
        207.     Merck provided Vaccination Report Cards to a limited number of trial
participants. For example, in Protocol 015, only approximately 10 percent of participants – all in
the United States, despite trial sites worldwide – received Vaccination Report Cards to
memorialize reactions in the first few days following injections.
        208.     Furthermore, the report cards only included categories of “Approved Injuries”
mainly jab site reactions (burning, itching, redness, bruising) leaving no room to report more
serious unexplained injuries such as autoimmune diseases. In fact, they were designed for the
purposes of reporting non-serious reactions only.
        209.     Furthermore, Merck instructed those participants to record information for only
14 days following the injection.
        210.     In this way, Merck foreclosed reporting injuries with longer incubation periods or
delayed diagnostic horizons.
        211.     Abbreviated reporting periods were part of Merck’s deliberate scheme to conceal
chronic conditions such as autoimmune or menstrual cycle problems, and premature ovarian


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failure, all of which have been widely associated with the vaccine, but would be unlikely to show
up in the first 14 days following injection.
        212.    Merck researchers did not systematically collect adverse event data, from the
trials, which were spread out over hundreds of test sites all over the world.
        213.    To conceal the dangerous side effects of its vaccine, Merck purposely did not
follow up with girls who experienced serious adverse events during the Gardasil clinical trials.
        214.    Merck failed to provide the trial subjects a standardized questionnaire checklist of
symptoms, to document a comparison of pre- and post-inoculation symptoms.
        215.    To discourage its clinicians from reporting adverse events, Merck made the
paperwork reporting requirements for supervising clinicians, onerous and time-consuming, and
refused to pay investigators additional compensation for filling out the paperwork.
        216.    Thus, Merck disincentivized researchers from reviewing participants’ medical
records even when the participant developed a “serious medical condition that meets the criteria
for serious adverse experiences” as described in the protocol.
        217.    Merck granted extraordinary discretion to its researchers to determine what
constituted a reportable adverse event, while incentivizing them to report nothing and to dismiss
all injuries as unrelated to the vaccine.
        218.    Merck used subpar, subjective data collection methods, relying on participants’
recollections and the biased viewpoints of its trial investigators.
        219.    Merck downplayed the incidence of serious injuries and used statistical
gimmickry to under-report entries.
        220.    During its Gardasil clinical trials, Merck failed to adequately capture and properly
code adverse events and symptoms, including but not limited to adverse events and symptoms
that were indicative of autoimmune or neurological injuries, including but not limited to POTS
and CRPS, so as to prevent the medical community, regulators and patients from learning about
these adverse events and to avoid the responsibility of having to issue appropriate warnings
concerning these adverse events.
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         vi.       Merck Deceived Regulators and the Public About Its Pivotal Gardasil Clinical
                   Trial (Protocol 018)
       221.    Merck tested Gardasil and Gardasil 9 in some 50 clinical trials, each one called a
“Protocol.” However, results for many of these studies are not available to the public or even to
the regulators licensing Gardasil. See Lars Jørgensen, et al., Index of the Human Papillomavirus
(HPV) Vaccine Industry Clinical Study Programmers and Non-Industry Funded Studies: a
Necessary Basis to Address Reporting Bias in a Systematic Review, 7 SYSTEMATIC REVIEWS 8
(January 18, 2018).
       222.    Gardasil’s most important clinical trial was Protocol 018. The FDA considered
Protocol 018 the pivotal trial upon which Gardasil licensing approvals hinged, because FDA
believed 1) it was the only trial where Merck used a “true saline placebo,” and 2) it was the only
trial with a comparator group that included girls aged 11 to 12 – the target age for the Gardasil
vaccine. See Transcript of FDA Center For Biologics Evaluation And Research VRBPAC
Meeting, May 18, 2006, at 93 (Dr. Nancy Miller).
       223.    Merck lied to regulators, to the public and to subjects in its clinical trials by
claiming that the Protocol 018 “placebo” group received an actual saline or inert placebo.
       224.    When the FDA approved Gardasil, it described the Protocol 018 control as a “true
saline placebo.”
       225.    The FDA declared that the Protocol 018 trial was “of particular interest” because
Merck used a true saline placebo instead of the adjuvant as a control.
       226.    Merck told regulators that it gave a “saline placebo” to only one small group of
approximately 600 nine to 15-year-old children.
       227.    In fact, Merck did not give even this modest control group a true saline placebo,
but rather, the group members were given a shot containing “the carrier solution” – a witch’s
brew of toxic substances including polysorbate 80, sodium borate (borax), genetically modified
yeast, L-histidine, and possibly a fragmented DNA adjuvant.
       228.    The only components of Gardasil the control group did not receive were the HPV
antigens and the aluminum adjuvant.
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       229.    Despite the witches’ brew of toxic chemicals in the carrier solution, those children
fared much better than any other study or control group participants, all of whom received the
AAHS aluminum adjuvant.
       230.    Only 29 percent of the vaccinated children and 31 percent of control recipients in
Protocol 018 reported new illnesses from Day 1 through Month 12, compared to an alarming
49.6 percent of those vaccinated and 49 percent of AAHS controls in the “pooled group”
(composed of some 10,000 young women and with the other participants combined) from Day 1
only through Month 7 (not 12). Because the pooled group also included Protocol 018, even
those numbers may not be accurate with respect to those who received either a vaccine with a
full dose of AAHS or those who received an AAHS control.
       231.    Few of the participants in the Protocol 018 control group got systemic
autoimmune diseases, compared to 2.3 percent (1 in every 43) in the pooled group. In a follow-
up clinical review in 2008, the FDA identified three girls in the carrier-solution group with
autoimmune disease. Based on the number of girls in the placebo group as stated in the original
2006 clinical review, fewer than 1 percent of girls in the carrier solution group reported
autoimmune disease.
       232.    In order to further deceive the public and regulators, upon information and belief,
Merck cut the dose of aluminum adjuvant in half when it administered the vaccine to the nine to
fifteen-year-old children in its Protocol 018 study group.
       233.    As a result, this group showed significantly lower “new medical conditions”
compared to other protocols.
       234.    Upon information and belief, Merck pretended that the vaccinated children in the
Protocol 018 study group received the full dose adjuvant by obfuscating the change in
formulation in the description.
       235.    Upon information and belief, Merck had cut the adjuvant in half, knowing that
this would artificially and fraudulently lower the number of adverse events and create the illusion
that the vaccine was safe.
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          236.   Upon information and belief, Merck lied about this fact to the FDA.
          237.   The data from that study therefore do not support the safety of the Gardasil
formulation since Merck was not testing Gardasil but a far less toxic formulation.
          238.   Upon information and belief, Merck was testing a product with only half the dose
of Gardasil’s most toxic component.
          239.   Upon information and belief, this is blatant scientific fraud, which continues to
this day because this is the study upon which current vaccine safety and long-term efficacy
assurances are based.
          240.   As set forth above, upon information and belief, Merck’s deception served its
purpose: Only 29 percent of the vaccinated children in Protocol 018 reported new illness,
compared to an alarming 49.6 percent in the pooled group to receive the full dose adjuvant in the
vaccine.

     I.      Contrary to Merck’s Representations, Gardasil May Actually Cause and
             Increase the Risk of Cervical and Other Cancers
          241.   Gardasil’s label states, “Gardasil has not been evaluated for potential to cause
carcinogenicity or genotoxicity.” The Gardasil 9 label states: “GARDASIL9 has not been
evaluated for the potential to cause carcinogenicity, genotoxicity or impairment of male fertility.
          242.   Peer-reviewed studies, including CDC’s own studies, have suggested that the
suppression of the HPV strains targeted by the Gardasil vaccine may actually open the ecological
niche for replacement by more virulent strains. See Fangjian Guo et al., Comparison of HPV
prevalence between HPV-vaccinated and non-vaccinated young adult women (20–26 years), 11
HUMAN VACCINES & IMMUNOTHERAPEUTICS 2337 (October 2015); Sonja Fischer et al., Shift in
prevalence of HPV types in cervical cytology specimens in the era of HPV vaccinations, 12
ONCOLOGY LETTERS 601 (2016); J. Lyons-Weiler, Biased Cochrane Report Ignores Flaws in
HPV Vaccine Studies, and Studies of HPV Type Replacement, (May 18, 2018). In other words,
Gardasil may increase the chances of getting cancer.



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       243.      In short, the Gardasil vaccines, which Merck markets as anti-cancer products,
may themselves cause cancer or mutagenetic changes that can lead to cancer.
       244.      Merck concealed from the public data from its clinical trials indicating that the
vaccines enhance the risk of cervical cancers in many women.
       245.      Merck’s study showed that women exposed to HPV before being vaccinated were
44.6 percent more likely to develop cancerous lesions compared to unvaccinated women, even
within a few years of receiving the vaccine.
       246.      In other words, Merck’s studies suggest that its HPV vaccines may cause cancer
in women who have previously been exposed to HPV, particularly if they also have a current
infection.
       247.      In some studies, more than 30 percent of girls show evidence of exposure to HPV
before age ten, from casual exposures, unwashed hands or in the birth canal. Flora Bacopoulou
et al., Genital HPV in Children and Adolescents: Does Sexual Activity Make a Difference?, 29
JOURNAL OF PEDIATRIC & ADOLESCENT GYNECOLOGY 228 (June 2016).
       248.      Even in light of the data demonstrating that Gardasil can increase the risk of
cancer in girls who previously have been exposed to HPV, in order to increase profits, Merck’s
Gardasil labels and promotional material do not inform patients and medical doctors of this
important risk factor.
       249.      Some clinical trial participants have developed cancer, including cervical cancer.
       250.      Numerous women have reported a sudden appearance of exceptionally aggressive
cervical cancers following vaccination.
       251.      Cervical cancer rates are climbing rapidly in all the countries where Gardasil has
a high uptake.
       252.      An Alabama study shows that the counties with the highest Gardasil uptakes also
had the highest cervical cancer rates.
       253.      After the introduction of HPV Vaccine in Britain, cervical cancer rates among
young women aged 25 to 29 has risen 54 percent.
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       254.    In Australia, government data reveals there has been a sharp increase in cervical
cancer rates in young women following the implementation of the Gardasil vaccine. The most
recent data reveal that, 13 years after Gardasil was released and pushed upon teenagers and
young adults, there has been a 16 percent increase in 25 to 29 year-olds and a 30 percent increase
in 30 to 34 year-old girls contracting cervical cancer, corroborating the clinical trial data that
Gardasil may increase the risk of cervical cancer, particularly in patients who had previous HPV
infections. Meanwhile, rates are decreasing for older women (who have not been vaccinated).
       255.    In addition to the belief that Gardasil may create and open an ecological niche for
replacement by more virulent strains of HPV, resulting in the increase of cervical cancers as
outlined above, in light of Merck’s false advertising that Gardasil prevents cervical cancer,
young women who have received Gardasil are foregoing regular screening and Pap tests in the
mistaken belief that HPV vaccines have eliminated all their risks.
       256.    Cervical screening is proven to reduce the cases of cervical cancer, and girls who
have taken the vaccine are less likely to undergo cervical screenings.
       257.    Data show that girls who received HPV vaccines before turning 21 are far less
likely to get cervical cancer screening than those who receive the vaccines after turning 21.
       258.    The cervical screening is more cost effective than vaccination alone or
vaccination with screening.
       259.    Therefore, Pap tests, which detect cervical tissue abnormalities, and HPV DNA
testing are the most effective frontline public health response to cervical health.

      J.   Merck has Concealed the Fact that Gardasil Induces and Increases the Risk of
           Autoimmune Diseases, and Other Injuries, Including But Not Limited to,
           Postural Orthostatic Tachycardia Syndrome, Chronic Fatigue Syndrome,
           Neuropathy, Fibromyalgia and Dysautonomia
       260.    Gardasil induces and increases the risk of autoimmune disease.
       261.    Gardasil has been linked to a myriad of autoimmune disorders, including but not
limited, to: Guillain–Barré syndrome (“GBS”), postural orthostatic tachycardia syndrome
(“POTS”), Orthostatic Intolerance (“OI”), chronic inflammatory demyelinating polyneuropathy

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(“CDIP”), small fiber neuropathy (“SNF”), systemic lupus erythematosus (“SLE”), immune
thrombocytopenic purpura (“ITP”), multiple sclerosis (“MS”), acute disseminated
encephalomyelitis (“ADEM”), antiphospholipid syndrome (“APS”), transverse myelitis,
rheumatoid arthritis, interconnective tissue disorder, autoimmune pancreatitis (“AIP”) and
autoimmune hepatitis.
       262.    Gardasil has also been linked to a myriad of diseases and symptoms that are
associated with induced-autoimmune disease, including for example, fibromyalgia,
dysautonomia, premature ovarian failure, chronic fatigue syndrome (“CFS”), chronic regional
pain syndrome (“CRPS”), cognitive dysfunction, migraines, severe headaches, persistent
gastrointestinal discomfort, widespread pain of a neuropathic character, encephalitis syndrome,
autonomic dysfunction, joint pain, and brain fog.
       263.    In a 2015 textbook, VACCINES AND AUTOIMMUNITY, edited by Dr. Yehuda
Shoenfeld, the father of autoimmunology research, and many of the world’s leading
autoimmunity experts, the scientists concluded that Gardasil can cause autoimmune disorders
because of the vaccine’s strong immune stimulating ingredients. See Lucija Tomljenovic &
Christopher A. Shaw, Adverse Reactions to Human Papillomavirus Vaccines, VACCINES &
AUTOIMMUNITY 163 (Yehuda Shoenfeld et al. eds., 2015).
       264.    Medical experts have opined that the mixture of adjuvants contained in vaccines,
in particular in the Gardasil vaccines, is responsible for post-vaccination induced autoimmune
diseases in select patients. The risks have become so prolific that medical experts have coined a
new umbrella syndrome – Autoimmune/Inflammatory Syndrome Induced by Adjuvants
(“ASIA”) to refer to the spectrum of immune-mediated diseases triggered by an adjuvant
stimulus contained in vaccines, such as aluminum. See e.g., YEHUDA SHOENFELD ET AL, EDS.,
VACCINES & AUTOIMMUNITY 2 (2015).
       265.    Indeed, even in animal studies, it has been revealed that aluminum adjuvants can
induce autoimmune disease in tested animals. By way of example, in a series of studies
conducted by Lluís Luján, DVM, Ph.D., and his colleagues, it was revealed that sheep injected
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with aluminum-containing adjuvants commonly come down with severe autoimmune diseases
and other adverse reactions.
       266.    Specific to the Gardasil vaccines, which contain adjuvants, including, amorphous
aluminum hydroxyphosphate sulfate (AAHS) and the previously undisclosed HPV L1 gene
DNA fragments, a number of mechanisms of action have been outlined (as discussed infra) as to
how Gardasil induces autoimmune disease in select patients.
       267.    Given the number of HPV strains that exist, a great part of the human population
has HPV, however, HPV by itself is generally not immunogenic, and generally does not evoke
immune responses. Indeed, HPV shares a high number of peptide sequences with human
proteins, so that the human immune system generally does not react against HPV in order to not
harm self-proteins. Immunotolerance thus generally blocks reactions against HPV in order to
avoid autoimmune attacks against the human proteins.
       268.    To induce anti-HPV immune reactions, Merck added various adjuvants, including
amorphous aluminum hydroxyphosphate sulfate (AAHS), to the Gardasil vaccine. Adjuvants,
such as aluminum, are inflammatory substances that hyperactivate the immune system.
Adjuvants are thus the “secret sauce” used by Merck to hyperactivate the immune system and
make HPV immunogenic.
       269.    While adjuvants are added with the intent of destroying the HPV virus, they also
can have the unintended result of rendering the immune system “blind” and unable to distinguish
human proteins from HPV proteins – accordingly, human proteins that share peptide sequences
with HPV are at risk of also being attacked by the vaccine.
       270.    While Gardasil causes immune hyperactivation and production of anti-HPV
antibodies to fend off certain strains of the HPV virus, it can also result in the immune system
losing its ability to differentiate human proteins from foreign proteins, causing the immune
system to attack the body’s own proteins and organs. Because of the massive peptide
commonality between HPV and human proteins, the indiscriminate attack triggered by the
Gardasil adjuvants will cause massive cross-reactions and dangerous attacks against human
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proteins, leading to a number of autoimmune diseases manifested throughout the different organs
of the body. This process is sometimes referred to as “molecular mimicry.”
       271.    In addition to “molecular mimicry,” other mechanisms of action that explain how
Gardasil can induce autoimmune disease are “epitope spreading,” whereby invading Gardasil
antigens, including the toxic aluminum adjuvant, accelerate autoimmune process by location
activation of antigen presenting cells and “bystander activation,” wherein antigens and the
aluminum adjuvants in the Gardasil vaccine activate pre-primed autoreactive T cells, which can
initiate autoimmune disease (bystander activation of autoreactive immune T cells), or where
virus-specific T cells initiate bystander activation resulting in the immune system killing
uninfected and unintended neighboring cells.
       272.    Relevant to the injuries at issue in this case, when a person is lying down,
approximately one-quarter of their blood volume resides in the chest area. When the person
stands up, a significant amount of that blood shifts to the lower extremities. This causes
impaired return of blood flow to the heart which also reduces blood pressure. In healthy
individuals, the autonomic nervous system adjusts the heartrate to counteract this effect and the
hemodynamic changes are negligible. However, in individuals (such as Plaintiff) who are now
suffering from dysautonomia or autonomic ailments, such as POTS or OI, the body’s ability to
adjust the heartrate and compensate for the blood flow is corrupted resulting in a host of wide
ranging symptoms, including but not limited to, dizziness, lightheadedness, vertigo, woozy
sensation, chronic headaches, vision issues due to the loss of blood flow to the brain, light and
sound sensitivity, loss of consciousness, shortness of breath, chest pain, gastrointestinal issues,
body pains, insomnia, and confusion and/or difficulty sleeping. In certain cases of POTS,
patients will also be diagnosed with other medical conditions, including but not limited to,
chronic fatigue syndrome and fibromyalgia.
       273.     Medical research has determined that certain dysautonomia diseases such as
POTS and OI have an autoimmune etiology. Norepinephrine, a key neurotransmitter of the
sympathetic (“fight or flight”) system, exerts its mechanism of action by binding to receptors
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located in the smooth muscle of the blood vessels and various organs, including the heart. These
receptors include alpha-1, alpha-2, beta-1, beta-2 and beta-3 receptors and, as a group, are
generally known as the adrenergic receptors. The adrenergic receptors, and other receptors,
including but not limited to, the ganglionic and muscarinic acetylcholine receptors are believed
to be affected in certain cases of POTS and OI. See e.g., Hongliang Li et al., Autoimmune Basis
for Postural Tachycardia Syndrome, 3 J. AMERICAN HEART ASSOC. e000755 (2014); Artur
Fedorowski et al., Antiadrenergic Autoimmunity in Postural Tachycardia Syndrome, 19
EUROPACE 1211 (2017); Mohammed Ruzieh et al., The Role of Autoantibodies in the Syndromes
of Orthostatic Intolerance: A Systematic Review, 51 SCANDINAVIAN CARDIOVASCULAR J. 243
(2017); Shu-ichi Ikeda et al., Autoantibodies Against Autonomic Nerve Receptors in Adolescent
Japanese Girls after Immunization with Human Papillomavirus Vaccine, 2 ANNALS OF
ARTHRITIS AND CLINICAL RHEUMATOLOGY 1014 (2019); William T. Gunning, Postural
Orthostatic Tachycardia Syndrome is Associated With Elevated G-Protein Coupled Receptor
Autoantibodies, 8 J. AMERICAN HEART ASSOC. e013602 (2019).
       274.    A variety of published medical journal articles have discussed the association
between Gardasil and a myriad of serious injuries and have reported on patients developing
POTS, OI, fibromyalgia and other symptoms of autonomic impairment following Gardasil
vaccination. See Svetlana Blitshetyn, Postural Tachycardia Syndrome After Vaccination with
Gardasil, 17 EUROPEAN J. OF NEUROLOGY e52 (2010); Svetlana Blitshetyn, Postural
Tachycardia Syndrome Following Human Papillomavirus Vaccination, 21 EUROPEAN J. OF
NEUROLOGY 135 (2014); Tomomi Kinoshita et al., Peripheral Sympathetic Nerve Dysfunction in
Adolescent Japanese Girls Following Immunization With Human Papillomavirus Vaccine, 53
INTERNAL MEDICINE 2185 (2014); Louise S. Brinth et al., Orthostatic Intolerance and Postural
Tachycardia Syndrome As Suspected Adverse Effects of Vaccination Against Human Papilloma
Virus, 33 VACCINE 2602 (2015); Manuel Martinez-Lavin et al., HPV Vaccination Syndrome. A
Questionnaire Based Study, 34 J. CLINICAL RHEUMATOLOGY 1981 (2015); Louise S. Brinth et
al., Is Chronic Fatigue Syndrome/Myalgic Encephalomyelitis a Relevant Diagnosis in Patients
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with Suspected Side Effects to Human Papilloma Virus Vaccine, 1 INT. J. OF VACCINE &
VACCINATION 3 (2015); Jill R. Schofield et al., Autoimmunity, Autonomic Neuropathy, and HPV
Vaccination, A Vulnerable Subpopulation, CLINICAL PEDIATRICS (2017); Rebecca E. Chandler et
al., Current Safety Concerns With Human Papillomavirus Vaccine: A Cluster Analysis of
Reports in VigiBase, 40 DRUG SAFETY 81 (2017); Svetlana Blitshetyn et al., Autonomic
Dysfunction and HPV Immunization An Overview, IMMUNOLOGIC RESEARCH (2018); and
Svetlana Blitshetyn, Human Papilloma Virus (HPV) Vaccine Safety Concerning POTS, CRPS
and Related Conditions, CLINICAL AUTONOMIC RESEARCH (2019).
       275.    In a 2017 review, Drs. Tom Jefferson and Lars Jørgensen criticized the European
Medicines Agency (“EMA”) for turning a blind eye to the debilitating autoimmune injuries,
including CRPS and POTS that young women had suffered following vaccination with HPV
vaccine. Tom Jefferson et al., Human Papillomavirus Vaccines, Complex Regional Pain
Syndrome, Postural Orthostatic Tachycardia Syndrome, and Autonomic Dysfunction – A Review
of the Regulatory Evidence from the European Medicines Agency, 3 INDIAN J. OF MED. ETHICS
30 (Jan. – March 2017).
       276.    In a separate article, the same authors describe their process for extracting data
from not only peer-reviewed journal publications, but also unpublished data from pharmaceutical
company clinical study reports and trial register entries from ClinicalTrials.gov, under the
assumption that “more than half of all studies are never published, and the published studies’
intervention effects are often exaggerated in comparison to the unpublished studies. This
introduces reporting bias that undermines the validity of systematic reviews. To address
reporting bias in systematic reviews, it is necessary to use industry and regulatory trial registers
and trial data—in particular, the drug manufacturers’ complete study programs.” They found
that 88 percent of industry studies were solely industry funded and found serious deficiencies
and variability in the availability of HPV vaccine study data. For example, only half of the
completed studies listed on ClinicalTrials.gov posted their results. The clinical study reports the
authors obtained confirmed that the amount of information and data are vastly greater than that
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in journal publications. When the authors compared the data the EMA used (which was
provided by GlaxoSmithKline and Merck Sharp and Dohme) to conduct their review of the
relationship between HPV vaccination and both POTS and CRPS, the authors found that only 48
percent of the manufacturers’ data were reported. According to the authors, “we find this very
disturbing.” Lars Jørgensen et al., Index of the Human Papillomavirus (HPV) Vaccine Industry
Clinical Study Programmes and Non-Industry Funded Studies: A Necessary Basis to Address
Reporting Bias in a Systematic Review, 7 SYSTEMATIC REVIEW 8 (2018).
        277.    Likewise, in a recently released February 2020 peer-reviewed study, researchers
who analyzed the available clinical trial data for all HPV vaccines, which include the Gardasil
vaccines and another HPV vaccine currently only available in Europe, concluded that “HPV
vaccines increased serious nervous disorders.” Lars Jørgensen et al., Benefits and Harms of the
Human Papillomavirus (HPV) Vaccines: Systemic Review with Meta-Analyses of Trial Data
from Clinical Study Reports, 9 SYSTEMATIC REVIEWS 43 (February 2020).
        278.    In addition, Jørgensen and his co-authors observed that, in reanalyzing the
association between HPV vaccines and one specific autoimmune disease, POTS, the HPV
vaccines were associated with a nearly two-fold increased risk of POTS. Id.
        279.    Jørgensen and his co-authors also noted many of the same shortcomings
associated with the Gardasil clinical trials as have already been discussed in this Complaint,
including for example, the fact that no true placebo was utilized by Merck as a comparator (i.e.,
the comparator/control used by Merck in the Gardasil clinical trials contained aluminum
adjuvant). The researchers noted that “[t]he use of active comparators may have underestimated
harms related to HPV vaccines,” and that “[t]he degree of harms might therefore be higher in
clinical practice than in the trials.” Id.
        280.    Jørgensen and his co-authors also noted that the clinical trials revealed that
Gardasil 9 induced more harms than Gardasil, which could be explained by the fact that Gardasil
9 contains more of the AAHS aluminum adjuvant (500 micrograms of AAHS in Gardasil-9 vs.


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225 micrograms of AAHS in Gardasil), and this dose-response relationship further corroborates
the plausible claim that the AAHS aluminum adjuvant is a culprit in causing adverse events. Id.
       281.
                 Other researchers, including Tomljenovic and Shaw, who have closely looked
into Gardasil, have opined that risks from the Gardasil vaccine seem to significantly outweigh
the as yet unproven long-term benefits. In their view, vaccination is unjustified if the vaccine
carries any substantial risk, let alone a risk of death, because healthy teenagers face an almost
zero percent risk of death from cervical cancer.

     K.       Merck has Concealed the Fact that Gardasil Increases the Risk of Fertility
              Problems
       282.      Merck has never tested the impact of the Gardasil vaccines on human fertility.
       283.      Nevertheless, study volunteers reported devastating impacts on human fertility
during combined trials, offering substantial evidence that the vaccine may be causing widespread
impacts on human fertility, including increases in miscarriage, birth defects, premature ovarian
failure and premature menopause in girls and young women.
       284.      One of the serious adverse events now emerging in vaccinated girls, including
teens, is premature ovarian failure. See, e.g., D. T. Little and H. R. Ward, Adolescent Premature
Ovarian Insufficiency Following Human Papillomavirus Vaccination: A Case Series Seen in
General Practice, JOURNAL OF INVESTIGATIVE MEDICINE HIGH IMPACT, Case Reports 1-12 (Oct.-
Dec. 2014); D. T. Little and H. R. Ward, Premature ovarian failure 3 years after menarche in a
16-year-old girl following human papillomavirus vaccination, BMJ CASE REPORTS (September
30, 2012).
       285.      Premature ovarian failure can occur after aluminum destroys the maturation
process of the eggs in the ovaries.
       286.      Fertility has plummeted among American women following the 2006 mass
introduction of the Gardasil vaccine. This is most evident in teen pregnancy statistics where
numbers have more than halved since 2007.



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       287.    The total fertility rate for the United States in 2017 continued to dip below what is
needed for the population to replace itself, according to a report by the National Center of Health
Statistics issued in January 2019, and the rate for women 15 to 44 fell another 2 percent between
2017 and 2018.
     L.    There were an Increased Number of Deaths in the Gardasil Studies
       288.    Merck’s own preliminary studies predicted that Gardasil would kill and injure far
more Americans than the HPV virus, prior to the introduction of the vaccine.
       289.    The average death rate in young women in the U.S. general population is 4.37 per
10,000. See Brady E. Hamilton et al., “Births: Provisional Data for 2016,” Vital Statistics Rapid
Release, Report No. 002, June 2017.
       290.    The Gardasil pooled group had a death rate of 8.5 per 10,000, or almost double
the background rate in the U.S.




       291.    When Merck added in deaths from belated clinical trials, the death rate jumped to

13.3 per 10,000 (21 deaths out of 15,706).

       292.    Merck dismissed all deaths as coincidences.

       293.    The total number of deaths was 21 in the HPV vaccine group and 19 in the

comparator (AAHS) groups.


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       294.      The death rate among vaccine recipients was 13.3 per 10,000, or 133 per 100,000

(21/15,706).
       295.
                 To put this in perspective, the death rate from cervical cancer in the United States

is 2.3 per 100,000 women. This means that, according to Merck’s own data, a girl is 58 times

more likely to die from Gardasil than from cervical cancer.

     M.       Post-Marketing Injuries -- The Raft of Injuries Seen in Merck’s Clinical Trials
              Has Now Become A Population-Wide Chronic Disease Epidemic
       296.      By 2010, reports coming in from all over the world linked the Gardasil vaccine to

     bizarre and troubling symptoms.
       297.      Many Gardasil survivors will have lifelong handicaps.
       298.      The severe adverse events from the Gardasil vaccination, seen since its
widespread distribution, are similar to those injuries that Merck covered up during its clinical
trials. They include autoimmune diseases, suicides, deaths, premature ovarian failures,
reproductive problems, infertility, cervical cancer, sudden collapse, seizures, multiple sclerosis,
strokes, heart palpitations, chronic muscle pain, complex regional pain syndrome, and weakness.
       299.      Other frequently reported injuries include disturbances of consciousness; systemic
pain including headache, myalgia, arthralgia, back pain and other pain; motor dysfunction, such
as paralysis, muscular weightiness, and involuntary movements; numbness, and sensory
disturbances; autonomic symptoms including hypotension, tachycardia, nausea, vomiting, and
diarrhea; respiratory dysfunction, including dyspnea, and asthma; endocrine disorders, such as
menstrual disorder and hypermenorrhea; and lastly, hypersensitivity to light, heart palpitations,
migraine headaches, dizziness, cognitive deficits, personality changes, vision loss, joint aches,
headaches, brain inflammation, chronic fatigue, death, and severe juvenile rheumatoid arthritis.
       300.      The data show that Gardasil is yielding far more reports of adverse events than
any other vaccine. For example, Gardasil had 8.5 times more emergency room visits, 12.5 times
more hospitalizations, 10 times more life-threatening events, and 26.5 more disabilities than
Menactra, another vaccine with an extremely high-risk profile.

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       301.    As of December 2019, there have been more than 64,000 Gardasil adverse events
reported to the FDA’s Vaccine Adverse Event Reporting System (“VAERS”) since 2006.
       302.    Moreover, studies have shown that only approximately 1 percent of adverse
events are actually reported to FDA’s voluntary reporting systems, thus, the true number of
Gardasil adverse events in the United States may be as high as 6.4 million incidents.
       303.    The Vaccine Injury Compensation Program has paid out millions of dollars in
damages for Gardasil-induced injuries and deaths.
       304.    The adverse events also include deaths. Parents, doctors, and scientists have
reported hundreds of deaths from the Gardasil vaccine, post-marketing.
       305.    In order to conceal Gardasil’s link to the deaths of teenagers, Merck has submitted
fraudulent reports to VAERS, and posts fraudulent and misleading statements on its Worldwide
Adverse Experience System.
       306.    For example, Merck attributed the death of a young woman from Maryland,
Christina Tarsell, to a viral infection. Following years of litigation, a court determined that
Gardasil caused Christina’s death. There was no evidence of viral infection. Merck invented
this story to deceive the public about Gardasil’s safety.
       307.    Merck submitted fraudulent information about Christina Tarsell’s death to its
Worldwide Adverse Experience System and lied to the FDA through the VAERS system. Merck
claimed that Christina’s gynecologist had told the company that her death was due to viral
infection. Christina’s gynecologist denied that she had ever given this information to Merck. To
this day, Merck has refused to change its false entry on its own reporting system.

      N.   The Gardasil Vaccines’ Harms Are Not Limited to the United States, Rather the
           Vaccines Have Injured Patients All Over the World
       308.    Gardasil is used widely in the international market. Widespread global experience
has likewise confirmed that the vaccine causes serious adverse events with minimal proven
benefit.



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       309.        According to the World Health Organization’s Adverse Event Databases, there
have been more than 100,000 serious adverse events associated with Gardasil, outside the
Americas. See WHO Vigibase database, keyword Gardasil: http://www.vigiaccess.org.

              i.      In Light of Gardasil’s Serious and Debilitating Adverse Events, the Japanese
                      Government Rescinded Its Recommendation that Girls Receive Gardasil
       310.    In Japan, a country with a robust history of relative honesty about vaccine side
effects, the cascade of Gardasil injuries became a public scandal.
       311.    Japan’s health ministry discovered adverse events reported after Gardasil were
many times higher than other vaccines on the recommended schedule. These included seizures,
severe headaches, partial paralysis, and complex regional pain syndrome. See Hirokuni Beppu et
al., Lessons Learnt in Japan From Adverse Reactions to the HPV Vaccine: A Medical Ethics
Perspective, 2 INDIAN J MED ETHICS 82 (April-June 2017).
       312.        Japanese researchers found that the adverse events rate of the HPV vaccine was as
high as 9 percent, and that pregnant women injected with the vaccine aborted or miscarried 30
percent of their babies. See Ministry of Health, Labour and Welfare, Transcript “The Public
Hearing on Adverse Events following HPV vaccine in Japan,” February 26, 2014.
       313.        The injuries caused the Japanese government to rescind its recommendation that
girls receive the HPV vaccine.
       314.        Japan withdrew its recommendation for Gardasil three months after it had added
the vaccine to the immunization schedule, due to “an undeniable causal relationship between
persistent pain and the vaccination.”
       315.        Uptake rates for the vaccine in Japan are now under 1 percent, compared to 53.7
percent fully vaccinated teenaged girls in the United States.
       316.        In late 2016 Japanese industry watchdog, MedWatcher Japan issued a scathing
letter faulting the WHO for failing to acknowledge the growing body of scientific evidence
demonstrating high risk of devastating side effects.



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       317.      In 2015, the Japanese Association of Medical Sciences issued official guidelines
for managing Gardasil injuries post-vaccination.
       318.      That same year, the Japanese Health Ministry published a list of medical
institutions where staffs were especially trained to treat patients who had sustained Gardasil-
induced injuries.
       319.      The Japanese government also launched a series of special clinics to evaluate and
treat illnesses caused by the Gardasil vaccines.
       320.      The president of the Japanese Association of Medical Sciences stated that there
was no proof that the vaccines prevent cancer.
       321.      These were developments that Merck was extremely anxious to suppress.
       322.      Merck hired the think tank, the Center for Strategic and International Studies
(“CSIS”) and Professor Heidi Larson of the Vaccine Confidence Project in London, to assess the
reasons for the Japanese situation. The overall conclusion was that the symptoms the girls were
suffering from were psychogenic in nature and were a result of rumors spread online. In essence,
Merck blamed the victims for the Gardasil-induced adverse events in Japan.

         ii.        Denmark Has Opened Specialized Clinics Specifically Focused on Treating
                    Gardasil-Induced Injuries, Including Gardasil-Induced Autoimmune Diseases
       323.      In March 2015, Denmark announced the opening of five new “HPV clinics” to

treat children injured by Gardasil vaccines. Over 1,300 cases flooded the HPV clinics shortly

after opening. See Zosia Chustecka, Chronic Symptoms After HPV Vaccination: Danes Start

Study, MEDSCAPE (November 13, 2015).

        iii.        Gardasil-Induced Adverse Events Caused the Government in Colombia to
                    Conclude that Gardasil Would No Longer Be Mandatory
       324.      In Colombia, more than 800 girls in the town of El Carmen de Bolivar reported
reactions ranging from fainting to dizziness to paralysis in March of 2014, following vaccination
with Gardasil.




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        325.   With protests erupting across the country, the Colombian attorney general asked
the Constitutional Court to rule on a lower court ruling on the outcome of a case of an injured
girl.
        326.   In 2017, in response to an unresolved case, Colombia’s constitutional court, ruled
that the Colombian government could not infringe on the bodily integrity of its citizens. This
decision meant that the government could not require the HPV vaccine to be mandatory.

         iv.     India Halted Gardasil Trials and Accused Merck of Corruption After the Death
                 of Several Young Girls Who were Participants in the Trial
        327.   Seven girls died in the Gardasil trials in India coordinated by Merck and the Gates
Foundation. A report by the Indian Parliament accused the Gates Foundation and Merck of
conducting “a well-planned scheme to commercially exploit” the nation’s poverty and
powerlessness and lack of education in rural India in order to push Gardasil. See 72nd Report on
the Alleged Irregularities in the Conduct of Studies Using Human Papilloma Virus (HPV)
Vaccine by Programme for Appropriate Technology in Health (PATH) in India (August 2013).
        328.   The report alleges that Merck (through PATH, to whom it supplied vaccines) and
the Gates Foundation resorted to subterfuge that jeopardized the health and well-being of
thousands of vulnerable Indian children. The parliamentary report makes clear that the clinical
trials could not have occurred without Merck corrupting India’s leading health organizations. Id.
        329.   The Report accused PATH, which was in collaboration with Merck, of lying to
illiterate tribal girls to obtain informed consent, widespread forging of consent forms by Merck
operatives, offering financial inducements to participate, and providing grossly inadequate
information about potential risks. Id.
        330.   Many of the participants suffered adverse events including loss of menstrual
cycles and psychological changes like depression and anxiety. According to the report: PATH’s
“sole aim has to been to promote the commercial interests of HPV vaccine manufacturers, who
would have reaped a windfall of profits had they been successful in getting the HPV vaccine



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   included in the universal immunization program of the country... This [conduct] is a clear-cut
   violation of the human rights of these girls and adolescents.” Id.
              331.      A 2013 article in the South Asian Journal of Cancer concludes that the HPV
   vaccine program is unjustifiable. “It would be far more productive to understand and strengthen
   the reasons behind the trend of decreasing cervical cancer rates than to expose an entire
   population to an uncertain intervention that has not been proven to prevent a single cervical
   cancer or cervical cancer death to date.” See Sudeep Gupta, Is Human Papillomavirus
   Vaccination Likely to be a Useful Strategy in India? 2 SOUTH ASIAN J CANCER 194 (October-
   December 2014).
              332.      The article goes on to say: “A healthy 16-year-old is at zero immediate risk of
   dying from cervical cancer, but is faced with a small, but real risk of death or serious disability
   from a vaccine that has yet to prevent a single case of cervical cancer... There is a genuine cause
   for concern regarding mass vaccination in this country.” Id.
333.          In April 2017, the Indian government blocked the Gates Foundation from further funding
   of the Public Health Foundation of India and other non-governmental organizations, effectively
   barring them from influencing India’s national vaccine program. See Nida Najar, India’s Ban on
   Foreign Money for Health Group Hits Gates Foundation, THE NEW YORK TIMES, April 20,
   2017.
            O.    Merck’s Fraud Has Paid Off Handsomely Resulting in Over $3 Billion in
                  Gardasil Sales Annually
              334.      Merck’s corruption and fraud in researching, testing, labeling, and promoting
       Gardasil have paid off handsomely.
              335.      Presently, two doses of Gardasil 9 typically cost about $450, plus the cost of two
       office visits.
              336.      By comparison, the cost of the DTaP vaccine is about $25 per dose.
              337.      The HPV vaccine is the most expensive vaccine on the market.




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       338.    Since approximately 1 in 42,000 American women die of cervical cancer
 annually, the cost of avoiding a single death is over $18 million, assuming the Gardasil vaccine
 is 100 percent effective.
       339.    In 2018, the Gardasil vaccines made $2.2 billion for Merck in the U.S. alone.
       340.    In 2019, Merck made $3.7 billion in worldwide revenues from the Gardasil
 vaccines.
       341.    Gardasil is Merck’s most lucrative vaccine and its third-highest selling product.
       342.    Gardasil is crucial to Merck’s overall financial health. Merck identifies Gardasil
 as one of its “key products,” meaning that any change in Gardasil’s cash flow affects the
 corporation as a whole.
       343.    Merck’s 10-K financial reports note that, for example, the discovery of a
 previously unknown side effect, or the removal of Gardasil from the market, would hurt
 Merck’s bottom line.

III. Lipscomb Sustained Autoimmune Disease, Autonomic Dysfunction and Other Serious
     Injuries, as A Result of Her Gardasil Injection

   A. Gardasil and Its Ingredients Caused Plaintiff’s Autoimmune Disease and Other
      Related Injuries and Has Resulted in Her Suffering from Severe, Debilitating,
      Disabling and Painful Chronic Injuries
       344.    Plaintiff was 14 years old when she received her first dosage of Gardasil on
January 31, 2018.

       345.    Plaintiff’s mother, Sarah Holbrook-Lipscomb, agreed to her daughter receiving

the Gardasil injection after having been exposed to marketing by Merck, that Gardasil is very

safe, that Gardasil prevents cancer and that teenagers must get the Gardasil vaccine. Plaintiff’s

mother relied upon Merck’s ubiquitous representations concerning the safety and efficacy of the

Gardasil vaccine, in consenting to her daughter’s Gardasil vaccination.
       346.    Prior to receiving her Gardasil injection, Plaintiff had no autoimmune diseases,
and no autonomic issues. In fact, she was an active, healthy, and athletic child with no significant



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medical history. She was an excellent student who exceled at softball and was expected to play
Division I softball on a college scholarship.

       347.    On January 31, 2018, Plaintiff’s health care provider in Avilla, Indiana

recommended that Plaintiff receive the Gardasil vaccine, which was stated as a safe and effective

vaccine for preventing cervical cancer and HPV. In light of the doctor’s recommendations, as

well as Merck’s relentless marketing and advertising messages, to which Plaintiff’s mother had

been exposed concerning the safety and efficacy of Gardasil, Plaintiff’s mother consented to

Plaintiff being injected with the “cervical cancer vaccine,” Gardasil.

       348.       Within a few days of receiving the vaccination, Lipscomb developed a rash,

shortness of breath, fatigue, and painful, swollen joints so bad she cried herself to sleep most

nights. Within 10 days, her joint pain was so bad she could hardly walk.
       349.    As the months progressed, so did Plaintiff’s injuries. She was seen by multiple
physicians and specialists for her complaints which now included, in addition to the above: an
increased heart rate, brain fog, headaches, nausea, vomiting, constipation, and back pain.
       350.    As a result of her post-Gardasil symptoms, Plaintiff was unable to attend school
regularly or engage in normal activities that a normal young person would enjoy. Plaintiff was
unable to continue playing softball. Her family had to move to a one-story residence because
Plaintiff could not climb stairs. Plaintiff lost all her friends because she could not walk around
and had to rest every couple of hours.
       351.    Based upon her chronic and severe post-Gardasil symptoms, Plaintiff has been
diagnosed with various medical conditions, including but not limited to, POTS, autonomic
dysfunction, chronic migraines, chronic pain, and arthritis.

       352.    As previously discussed, the medical literature has documented other patients

who, like Plaintiff, have suffered serious autonomic dysfunctions, and who experienced the same

side effects as those Plaintiff has suffered, and who were diagnosed with Gardasil-induced

autonomic diseases. See E. Israeli et al., Adjuvants and Autoimmunity, 18 LUPUS 1217 (2009);

Darja Kanduc, Quantifying the Possible Cross-Reactivity Risk of an HPV16 Vaccine, 8 JOURNAL
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OF EXPERIMENTAL THERAPEUTICS AND ONCOLOGY            65 (2009); Svetlana Blitshetyn, Postural

Tachycardia Syndrome After Vaccination with Gardasil, 17 EUROPEAN J. OF NEUROLOGY e52

(2010); Darja Kanduc, Potential Cross-Reactivity Between HPV16 L1 Protein and Sudden Death

Associated Antigens, 9 JOURNAL OF EXPERIMENTAL THERAPEUTICS AND ONCOLOGY 159 (2011);

Deirdre Little et al., Premature ovarian failure 3 years after menarche in a 16-year-old girl

following human papillomavirus vaccination, BRIT. MED. J. CASE REPORTS (2012); Serena

Colafrancesco et al., Human Papilloma Virus Vaccine and Primary Ovarian Failure: Another

Facet of the Autoimmune Inflammatory Syndrome Induced by Adjuvants, 70 AM. J.
REPRODUCTIVE IMMUNOLOGY 309 (2013); Maurizo Rinaldi et al., Anti-Saccharomyces

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CLINICAL REVIEWS IN ALLERGY AND IMMUNOLOGY 152 (October 2013); Svetlana Blitshetyn,

Postural Tachycardia Syndrome Following Human Papillomavirus Vaccination, 21 EUROPEAN J.

OF NEUROLOGY    135 (2014); Tomomi Kinoshita et al., Peripheral Sympathetic Nerve Dysfunction

in Adolescent Japanese Girls Following Immunization With Human Papillomavirus Vaccine, 53

INTERNAL MEDICINE 2185 (2014); Christopher A. Shaw et al., Aluminum-Induced Entropy in

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Louise S. Brinth et al., Orthostatic Intolerance and Postural Tachycardia Syndrome As

Suspected Adverse Effects of Vaccination Against Human Papilloma Virus, 33 VACCINE 2602

(2015); Manuel Martinez-Lavin et al., HPV Vaccination Syndrome. A Questionnaire Based

Study, 34 J. CLINICAL RHEUMATOLOGY 1981 (2015); Louise S. Brinth et al., Is Chronic Fatigue

Syndrome/Myalgic Encephalomyelitis a Relevant Diagnosis in Patients with Suspected Side

Effects to Human Papilloma Virus Vaccine, 1 INT. J. OF VACCINE & VACCINATION 3 (2015); Jill

R. Schofield et al., Autoimmunity, Autonomic Neuropathy, and HPV Vaccination, A Vulnerable

Subpopulation, CLINICAL PEDIATRICS (2017); Rebecca E. Chandler et al., Current Safety

Concerns With Human Papillomavirus Vaccine: A Cluster Analysis of Reports in VigiBase, 40

DRUG SAFETY 81 (2017); Svetlana Blitshetyn et al., Autonomic Dysfunction and HPV


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Immunization An Overview, IMMUNOLOGIC RESEARCH (2018); and Svetlana Blitshetyn, Human

Papilloma Virus (HPV) Vaccine Safety Concerning POTS, CRPS and Related Conditions,

CLINICAL AUTONOMIC RESEARCH (2019); Lars Jørgensen et al., Benefits and Harms of the

Human Papillomavirus (HPV) Vaccines: Systemic Review with Meta-Analyses of Trial Data

from Clinical Study Reports, 9 SYSTEMATIC REVIEWS 43 (February 2020).

       353.    Plaintiff contends that her Gardasil injection caused him/her to develop serious

and debilitating injuries, including but not limited to autonomic, neurological, heterogenous

autoimmune disease, POTS, and dysautonomia, as well as a constellation of adverse symptoms,

complications, injuries, and other adverse events, many of which are alleged herein and all of

which were caused by Gardasil or otherwise linked to her Gardasil-induced autoimmune

disorder.

      B.    “It is Not Revolutions and Upheavals That Clear the Road to New and Better
            Days, But Revelations, Lavishness and Torments of Someone’s Soul, Inspired
            and Ablaze.” – Boris Pasternak, After the Storm
       354.      Pursuant to Section 300aa-11(a) of the National Vaccine Injury Compensation
Program: “No person may bring a civil action for damages ...... against a vaccine administrator or
manufacturer in a State or Federal court for damages arising from a vaccine-related injury ...
associated with the administration of a vaccine ....... unless a petition has been filed, in
accordance with section 300aa-16 of this title, for compensation under the Program for such
injury ... and (I) the United Stated Court of Federal Claims has issued a judgment under section
300aa-12 of this title on such petition and (II) such person elects under section 300aa-21(a) to
file such an action.” See 42 U.S.C. §§ 300aa–11(a)(2)(A).
       355.    Title 42, Section 300aa-16 (c) further states: “If a petition is filed under section
300aa-11 of this title for a vaccine-related injury or death, limitations of actions under State law
shall be stayed with respect to a civil action brought for such injury or death for the period
beginning on the date the Petition is filed and ending on the date…an election is made under
section 300aa-21(a) of this title to file the civil action ...” See 42 U.S.C. §§ 300aa–16(c).


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        356.    In full compliance with the aforementioned federal law, Plaintiff duly filed her
petition with the U.S. Court of Federal Claims seeking compensation for her Gardasil vaccine-
related injuries under the National Vaccine Injury Compensation Program. The Order
Concluding Proceedings was filed on October 19, 2021.
        357.    Having complied with National Vaccine Injury Compensation Program
administrative procedure and having duly filed her election to proceed with a civil action,
Plaintiff hereby timely initiates the instant action against Merck, the manufacturer and promoter
of the Gardasil vaccines which caused her debilitating injuries. Through this civil action,
Plaintiff seeks to hold Merck accountable for its negligent, reckless, and fraudulent conduct and
she seeks full compensation from Merck for the physical and emotional injuries and harms she
sustained as a result of Gardasil.

                                       CAUSES OF ACTION

                                          COUNT ONE
                                       STRICT LIABILITY
                                      (FAILURE TO WARN)
        358.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein, and further alleges:
        359.    Plaintiff brings this strict liability claim against Merck for failure to warn.
        360.    At all times relevant to this litigation, Merck engaged in the business of
researching, testing, developing, manufacturing, marketing, selling, distributing, and promoting
Gardasil, which is defective and unreasonably dangerous to consumers, including Plaintiff,
because it does not contain adequate warnings or instructions concerning the dangerous
characteristics of Gardasil and its ingredients and adjuvants. These actions were under the
ultimate control and supervision of Merck.
        361.    Merck researched, developed, tested, manufactured, inspected, labeled,
distributed, marketed, promoted, sold, and otherwise released into the stream of commerce
Gardasil, and in the course of same, directly advertised or marketed the vaccine to consumers

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and end users, including Plaintiff and her medical providers, and Merck therefore had a duty to
warn of the risks associated with the reasonably foreseeable uses of Gardasil and a duty to
instruct on the proper, safe use of these products.
       362.    At all times relevant to this litigation, Merck had a duty to properly research, test,
manufacture, inspect, package, label, market, promote, sell, distribute, provide proper warnings,
and take such steps as necessary to ensure that Gardasil did not cause users and consumers to
suffer from unreasonable and dangerous risks. Merck had a continuing duty to instruct on the
proper, safe use of these products. Merck, as manufacturer, seller, or distributor of vaccines, is
held to the knowledge of an expert in the field.
       363.    At the time of manufacture, Merck could have provided warnings or instructions
regarding the full and complete risks of Gardasil because it knew or should have known of the
unreasonable risks of harm associated with the use of and/or exposure to these products.
       364.    At all times relevant to this litigation, Merck failed to properly investigate, study,
research, test, manufacture, label or promote Gardasil. Merck also failed to minimize the
dangers to children, patients, and consumers of Gardasil products and to those who would
foreseeably use or be harmed by Gardasil, including Plaintiff.
       365.    Despite the fact that Merck knew or should have known that Gardasil posed a
grave and unreasonable risk of harm (including but not limited to increased risk of autoimmune
disease, and the various other Gardasil induced injuries that Plaintiff has sustained), it failed to
warn of the risks associated with Gardasil. The dangerous propensities of Gardasil and the
carcinogenic characteristics and autoimmune-inducing characteristics of Gardasil, as described in
this Complaint, were known to Merck, or scientifically knowable to Merck through appropriate
research and testing by known methods, at the time it distributed, supplied, or sold Gardasil, and
not known to end users and consumers, such as Plaintiff and her medical providers.
       366.    Merck knew or should have known that Gardasil and its ingredients and adjuvants
created significant risks of serious bodily harm to children and patients, as alleged herein, and
Merck failed to adequately warn patients, parents, medical providers and reasonably foreseeable
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users of the risks and lack of efficacy of Gardasil. Merck has wrongfully concealed information
concerning Gardasil’s dangerous nature and lack of efficacy and has further made false and
misleading statements concerning the safety and efficacy of Gardasil.
       367.    At all times relevant to this litigation, Merck’s Gardasil products reached the
intended consumers, handlers, and users or other persons coming into contact with these
products throughout the United States, including Plaintiff, without substantial change in their
condition as manufactured, sold, distributed, labeled, and marketed by Merck.
       368.    Plaintiff was injected with Gardasil in its intended or reasonably foreseeable
manner without knowledge of its unreasonable dangerous and inefficacious characteristics.
       369.    Plaintiff could not have reasonably discovered the defects and risks associated
with Gardasil before or at the time of her injection. Plaintiff relied upon the skill, superior
knowledge, and judgment of Merck.
       370.    Merck knew or should have known that the warnings disseminated with Gardasil
were inadequate, and failed to communicate adequate information concerning the true risks and
lack of efficacy of Gardasil and failed to communicate warnings and instructions that were
appropriate and adequate to render the products safe for their ordinary, intended, and reasonably
foreseeable uses, including injections in teenagers.
       371.    The information that Merck did provide or communicate failed to contain relevant
warnings, hazards, and precautions that would have enabled patients, parents of patients and the
medical providers of patients to properly utilize, recommend or consent to the utilization of
Gardasil. Instead, Merck disseminated information that was inaccurate, false, and misleading
and which failed to communicate accurately or adequately the lack of efficacy, comparative
severity, duration, and extent of the serious risk of injuries associated Gardasil; continued to
aggressively promote the efficacy and safety of its products, even after it knew or should have
known of Gardasil’s unreasonable risks and lack of efficacy; and concealed, downplayed, or
otherwise suppressed, through aggressive marketing and promotion, any information or research
about the risks, defects and dangers of Gardasil.
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       372.    To this day, Merck has failed to adequately and accurately warn of the true risks
of Plaintiff’s injuries, including but not limited to, autoimmune diseases, including POTS,
fibromyalgia, and dysautonomia, associated with the use of and exposure to Gardasil, and has
failed to warn of the additional risks that Plaintiff is now exposed to, including, but not limited
to, the increased risk of cancer, and other potential side effects and ailments.
       373.    As a result of Merck’s failure to warn and false promotion, Gardasil is and was
defective and unreasonably dangerous when it left the possession and/or control of Merck, was
distributed by Merck, and used by Plaintiff.
       374.    Merck is liable to Plaintiff for injuries caused by its failure, as described above, to
provide adequate warnings or other clinically relevant information and data regarding Gardasil,
the lack of efficacy and serious risks associated with Gardasil and its ingredients and adjuvants.
       375.    The defects in Merck’s Gardasil vaccine were substantial and contributing factors
in causing Plaintiff’s injuries, and, but for Merck’s misconduct and omissions and Gardasil’s
defects, including its defective labeling and false promotion, Plaintiff would not have sustained
her injuries which she has sustained to date, and would not have been exposed to the additional
prospective risk and dangers that are associated with Gardasil.
       376.    Had Merck not engaged in the negligent and fraudulent conduct alleged herein
and/or had Merck, via its labeling, advertisements, and promotions provided adequate and
truthful warnings and properly disclosed and disseminated the true risks, limitations, and lack of
efficacy associated with Gardasil to medical providers, patients and the public, then upon
information and belief, Plaintiff’s medical providers would not have offered or recommended
Gardasil to Plaintiff. Moreover, even if after Merck’s dissemination of truthful information
concerning the true risks and efficacy limitation of Gardasil, Plaintiff’s medical providers had
offered Gardasil, then upon information and belief, the providers would have heeded any
warnings issued by Merck and relayed to Plaintiff the safety risks and efficacy limitations that
Merck should have warned her about, but failed to do so. Had Plaintiff been informed of the true
risks and efficacy limitation concerning Gardasil, through her medical providers or through
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Merck’s ubiquitous direct-to-consumer promotional marketing, on which she relied, then
Plaintiff would not have consented to being injected with Gardasil.
       377.    As a proximate result of Merck’s wrongful acts and omissions and its negligent
and fraudulent testing, labeling, manufacturing, and promotion of Gardasil, Plaintiff has suffered
and continues to suffer severe and permanent physical injuries, including, but not limited to, her
autoimmune disease and associated symptomology and has suffered severe and permanent
emotional injuries, including pain and suffering. Plaintiff also has a substantial fear of suffering
additional and ongoing harms, including but not limited to now being at an increased risk of
cancer, and future symptoms and harms associated with her autoimmune disease and other
injuries caused by Gardasil.
       378.    As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has
suffered and continues to suffer economic losses, including considerable financial expenses for
medical care and treatment, and diminished income capacity and she will continue to incur these
losses and expenses in the future.
       379.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.
Merck regularly risks the lives of teenagers, including Plaintiff, with full knowledge of the
limited efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has
made conscious decisions to not warn or inform the unsuspecting public, including Plaintiff and
her medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure
to issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk
of significant harm to children, teenagers, and patients who were being injected with Gardasil,
and therefore warrants an award of punitive damages.
       380.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for
all compensatory and punitive damages, together with interest, and costs herein incurred, and all
such other and further relief as this Court deems just and proper.




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                                       COUNT TWO
                                     STRICT LIABILITY
                                 (MANUFACTURING DEFECT)
        381.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if
 fully set forth herein, and further alleges:
        382.    Plaintiff brings this strict liability claim against Merck for manufacturing defect.
        383.    At all times relevant to this litigation, Merck engaged in the business of
 researching, testing, developing, manufacturing, marketing, selling, distributing, and promoting
 Gardasil, which is defective and unreasonably dangerous to consumers, including Plaintiff,
 because of manufacturing defects, which patients, including Plaintiff and her medical providers
 did not expect.
        384.    Upon information and belief, the Gardasil vaccines injected into Plaintiff were
 defective and unreasonably dangerous because they failed to comply with manufacturing
 specifications required by the governing manufacturing protocols and also required by the
 regulatory agencies, including but not limited to the FDA, by among other things, containing
 ingredients and toxins that were not disclosed in the FDA-approved specifications and/or
 otherwise not disclosed in the package insert.
        385.    Upon information and belief, and as way of example, the Gardasil injected into
 Plaintiff was defective and unreasonably dangerous because it failed to comply with the
 approved manufacturing specifications, by containing dangerous and undisclosed HPV L1-
 DNA fragments, and these DNA fragments could act as a Toll-Like Receptor 9 (TLR9) agonist,
 further adjuvanting the vaccine and making it more potent and dangerous than intended.
        386.    Upon information and belief, and as way of example, the Gardasil injected into
 Plaintiff was defective and unreasonably dangerous because it failed to comply with the
 approved manufacturing specifications, by containing dangerous and undisclosed ingredients
 and neurotoxins, including but not limited to, phenylmethylsulfonyl fluoride (PMSF), a toxic
 nerve agent that is not intended for human consumption or injections.



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       387.    At all times relevant to this litigation, Merck’s Gardasil products reached the
 intended consumers, handlers, and users or other persons coming into contact with these
 products throughout the United States, including Plaintiff, without substantial change in their
 condition as designed, manufactured, sold, distributed, labeled, and marketed by Merck.
       388.    Plaintiff and her medical providers could not reasonably have discovered the
 defects, including the manufacturing defects, and risks associated with Gardasil before or at the
 time of her injection. Plaintiff relied upon the skill, superior knowledge, and judgment of
 Merck.
       389.    Merck is liable to Plaintiff for injuries caused as a result of its manufacturing
 defects.
       390.    The defects in Merck’s Gardasil vaccine were substantial and contributing factors
 in causing Plaintiff’s injuries, and, but for Merck’s misconduct and omissions and Gardasil’s
 defects, including but not limited to its manufacturing defects, Plaintiff would not have
 sustained the injuries she has sustained to date, and would not have been exposed to the
 additional prospective risk and dangers associated with Gardasil.
       391.    As a proximate result of Merck’s wrongful acts and Gardasil’s manufacturing
 defects, Plaintiff has suffered and continues to suffer severe and permanent physical injuries and
 associated symptomology and has suffered severe and permanent emotional injuries, including
 pain and suffering. Plaintiff also has a substantial fear of suffering additional and ongoing
 harms, including but not limited to now being at an increased risk of cancer, and future
 symptoms and harms associated with her autoimmune disease and other injuries caused by
 Gardasil.
       392.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has
 suffered and continues to suffer economic losses, including considerable financial expenses for
 medical care and treatment, and diminished income capacity, and she will continue to incur
 these losses and expenses in the future.

       393.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.
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 Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of the

 limited efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has

 made conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff,

 and her medical providers. Merck’s conduct, including its false promotion of Gardasil and its

 failure to issue appropriate warnings concerning the severe risks of Gardasil, created a

 substantial risk of significant harm to children and patients who were being injected with

 Gardasil, and therefore warrants an award of punitive damages.
        394.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for
 compensatory and punitive damages, together with interest, and costs herein incurred, and all
 such other and further relief as this Court deems just and proper.

                                    COUNT THREE
                             BREACH OF EXPRESS WARRANTY
        395.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if
 fully set forth herein, and further alleges:
        396.    Merck engaged in the business of testing, researching, manufacturing, labeling,
 marketing, selling, distributing, and promoting Gardasil, which is defective and unreasonably
 dangerous to consumers, including Plaintiff.
        397.    At all times relevant to this litigation, Merck expressly represented and warranted
through statements made in its Gardasil label, publications, television advertisements, billboards,
print advertisements, online advertisements and website, and other written materials intended for
consumers, patients, parents of minor-aged patients, medical providers and the general public,
that Gardasil was safe and effective at preventing cancer. Merck advertised, labeled, marketed,
and promoted Gardasil, representing the quality to consumers, patients, medical providers and
the public in such a way as to induce their purchase or use, thereby making an express warranty
that Gardasil would conform to the representations.
        398.    These express representations included incomplete warnings and instructions that
 purport, but fail, to include the complete array of risks associated with Gardasil. Merck knew
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 and/or should have known that the risks expressly included in Gardasil’s promotional material
 and labels did not and do not accurately or adequately set forth the risks of developing the
 serious injuries complained of herein. Nevertheless, Merck falsely and expressly represented
 that Gardasil was “safe” for use by individuals such as Plaintiff, and/or that Gardasil was
 “effective” in preventing cancer and that anyone who was vaccinated with Gardasil would be
 “one less” person with cancer.
       399.    The representations about Gardasil, as set forth herein, contained or constituted
 affirmations of fact or promises made by the seller to the buyer, which related to the goods and
 became part of the basis of the bargain, creating an express warranty that the goods would
 conform to the representations.
       400.    Merck breached these warranties because, among other things, Gardasil is
 ineffective at preventing cancer, defective, dangerous, unfit for use, and is associated with a
 myriad of dangerous and undisclosed risks, including, but not limited to, the risk of autoimmune
 disease, including POTS, the risk of developing cervical cancer in women (even though Merck
 promoted it as preventing cervical cancer), and the risk of fertility problems for young girls.
 Specifically, Merck breached the warranties in the following ways:
               a)      Representing to patients and the medical community, including Plaintiff,
                       her parents and/or her medical providers that Gardasil is effective in
                       preventing cancer, including anal and cervical cancer, when Merck knew
                       that contrary to these representations (i) no clinical studies were performed
                       to test if Gardasil prevents cancer; (ii) the clinical studies confirmed that
                       Gardasil is indeed ineffective when used in patients who have previously
                       been exposed to HPV, and that Gardasil actually increases the risk of
                       cancer in a patient who has been previously exposed to HPV; and (iii)
                       there are safer and more effective methods of monitoring for and
                       attempting to prevent cervical or anal cancer, including but not limited to


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                       regular testing, such as regular Pap smears for cervical cancer, and
                       monitoring for anal cancer.
               b)      Representing to patients and the medical community, including Plaintiff
                       and her medical providers that Gardasil is safe, when in reality, Gardasil
                       causes and presents serious risks of cancer, autoimmune disease, including
                       but not limited to POTS, and other grave illnesses as outlined herein;
               c)      Engaging in false advertising and disease mongering by scaring parents
                       and teenagers into believing that cervical and anal cancer is far more
                       prevalent than it really is; that all cervical and anal cancer was linked to
                       HPV; that Gardasil prevented cervical cancer, when in reality none of
                       these representations were true as cervical cancer rates were declining in
                       the United States due to Pap testing and Gardasil has not been shown to
                       prevent against all strains of HPV that are associated with cervical cancer
                       and indeed it has never been shown to prevent cervical or anal cancer.
       401.    Merck had sole access to material facts concerning the nature of the risks and
defects associated with Gardasil as expressly stated within its promotional material and labels,
and Merck knew that patients and users such as Plaintiff could not have reasonably discovered
the truth about the inefficacies and serious risks associated with Gardasil as alleged herein.
       402.    Plaintiff had no knowledge of the falsity or incompleteness of Merck’s statements
and representations concerning Gardasil.
       403.    Plaintiff was exposed to and relied upon the ubiquitous promotional material and
representations Merck made in its direct-to-consumer advertisements and marketing materials
concerning the safety and efficacy of Gardasil, including: that Gardasil prevents cervical and
anal cancer and these cancers are prevalent (even though children rarely get cervical or anal
cancer and Pap tests are the best frontline defense in detecting and fighting cervical cancer); that
“good mothers” vaccinate their children and that Gardasil is perfectly safe. However, had Merck
in these advertisements not engaged in disease mongering and deception, but instead had
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informed her the truth about the serious risks of Gardasil (as outlined in this Complaint) and its
lack of efficacy, she would never have consented to being injected with Gardasil, nor would
Plaintiff have consented to the Gardasil injection had she been adequately informed about the
questionable efficacy and serious risks associated with Gardasil.
       404.    As a proximate result of Merck’s wrongful acts and breaches of warranties
concerning the safety and efficacy of Gardasil, Plaintiff has suffered and continues to suffer
severe and permanent physical injuries, and associated symptomology and has suffered severe
and permanent emotional injuries, including pain and suffering. Plaintiff also has a substantial
fear of suffering additional and ongoing harms, including but not limited to now being at an
increased risk of cancer, and future symptoms and harms associated with her autoimmune
disease and other injuries caused by Gardasil.
       405.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has
suffered and continues to suffer economic losses, including considerable financial expenses for
medical care and treatment, and diminished income capacity and she will continue to incur these
losses and expenses in the future.

       406.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.

Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of the limited
efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has made

conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff and her

medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure to

issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk of

significant harm to children and patients who were being injected with Gardasil, and therefore

warrants an award of punitive damages.

       407.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

compensatory and punitive damages, together with interest, and costs herein incurred, and all

such other and further relief as this Court deems just and proper. Plaintiff also demands a jury

trial on the issues contained herein.
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                                          COUNT FOUR
                                          NEGLIGENCE
       408.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein and further alleges:
       409.    Merck is the researcher, manufacturer, labeler, and promoter of the Gardasil
and the subsequent Gardasil 9 vaccines.
       410.     Merck marketed Gardasil to patients, including teenagers such as Plaintiff and
her medical providers.
       411.    Merck had a duty to exercise reasonable care in the research, manufacture,
marketing, advertisement, supply, promotion, packaging, sale, and distribution of Gardasil,
including the duty to take all reasonable steps necessary to research, manufacture, label, promote
and/or sell a product that was not unreasonably dangerous to consumers, users, and other persons
coming into contact with the product.
       412.    At all times relevant to this litigation, Merck had a duty to exercise reasonable
care in the marketing, advertising, and sale of Gardasil. Merck’s duty of care owed to consumers
and the general public included providing accurate, true, and correct information concerning the
efficacy and risks of Gardasil and appropriate, complete, and accurate warnings concerning the
potential adverse effects of Gardasil and its various ingredients and adjuvants.
       413.    At all times relevant to this litigation, Merck knew or, in the exercise of
reasonable care, should have known of the hazards and dangers of Gardasil and specifically, the
serious, debilitating and potentially fatal adverse events associated with Gardasil, including but
not limited to autoimmune diseases (including, but not limited to, POTS and OT), fibromyalgia,
increased risk of cancer (including cervical cancer, which was the very cancer it was promoted as
preventing), and death.
       414.    Accordingly, at all times relevant to this litigation, Merck knew or, in the exercise
of reasonable care, should have known that use of Gardasil could cause Plaintiff’s injuries and



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thus created a dangerous and unreasonable risk of injury to the users of these products, including
Plaintiff.
        415.    Merck knew or, in the exercise of reasonable care, should have known that its
negligently and poorly performed clinical trials and studies were insufficient to test the true long-
term safety and efficacy of Gardasil.
        416.    Merck also knew, or, in the exercise of reasonable care, should have known that
its targeted consumers and patients (who were pre-teen and teen children), the parents of these
patients and the children’s medical providers were unaware of the true risks and the magnitude
of the risks associated with Gardasil and the disclosed and undisclosed ingredients of Gardasil.
        417.    As such, Merck breached its duty of reasonable care and failed to exercise
ordinary care in the research, development, manufacturing, testing, marketing, supply,
promotion, advertisement, packaging, labeling, sale, and distribution of Gardasil, in that Merck
manufactured and produced a defective and ineffective vaccine, knew or had reason to know of
the defects and inefficacies inherent in its products, knew or had reason to know that a patient’s
exposure to Gardasil created a significant risk of harm and unreasonably dangerous side effects,
and failed to prevent or adequately warn of these defects, risks and injuries.
        418.    Merck failed to appropriately and adequately test the safety and efficacy of
Gardasil and its individual ingredients and adjuvants.
        419.    Despite the ability and means to investigate, study, and test its products and to
provide adequate warnings, Merck has failed to do so. Indeed, Merck has wrongfully concealed
information and has further made false and/or misleading statements concerning the safety and
efficacy of Gardasil.
        420.    Merck’s negligence is outlined in detail in this Complaint and included, among
other things:
                a)      Manufacturing, producing, promoting, creating, researching, labeling,
                        selling, and/or distributing Gardasil without thorough and adequate pre-
                        and post-market testing and studies;
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            b)   Manufacturing, producing, promoting, researching, labeling, selling,
                 and/or distributing Gardasil while negligently and intentionally concealing
                 and failing to accurately and adequately disclose the results of the trials,
                 tests, and studies of Gardasil, and, consequently, the lack of efficacy and
                 risk of serious harm associated with Gardasil;
            c)   Failing to undertake sufficient studies and conduct necessary tests to
                 determine the safety of the ingredients and/or adjuvants contained within
                 Gardasil, and the propensity of these ingredients to render Gardasil toxic,
                 increase the toxicity of Gardasil, whether these ingredients are
                 carcinogenic or associated with autoimmune diseases and other injuries;
            d)   Negligently designing and conducting its clinical trials so as to prevent the
                 clinical trials from revealing the true risks, including but not limited to,
                 long terms risks and risks of autoimmune diseases associated with
                 Gardasil;
            e)   Negligently designing and conducting its clinical trials so as to mask the
                 true risks, including but not limited to, long terms risks and risks of
                 autoimmune diseases and cancers associated with Gardasil;
            f)   Failing to test Gardasil against a true inert placebo and lying to the public
                 that Gardasil was tested against a placebo, when in reality, all, or nearly
                 all, studies used a toxic placebo that included the aluminum adjuvant
                 AAHS;
            g)   Failing to have a sufficient number of studies for the targeted patient
                 population which included pre-teen girls (and boys) between the ages of
                 nine and 12;
            h)   Not using the commercial dosage (and instead using a lower dosage of the
                 adjuvant and ingredients) in one of the key clinical trials used to obtain
                 licensing for the commercial dosage of Gardasil;
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            i)   Using restrictive exclusionary criteria in the clinical study patient
                 population (including for example, the exclusion of anyone who had prior
                 abnormal Pap tests, who had a history of immunological or nervous
                 system disorders, or was allergic to aluminum or other ingredients), but
                 then not revealing or warning about these exclusionary criteria in the label
                 and knowing that, for most of these ingredients and allergies, there are
                 limited resources for the public to test for such allergies in advance of
                 being vaccinated;
            j)   Negligently designing and conducting its trials so as to create the illusion
                 of efficacy when in reality the Gardasil Vaccines have not been shown to
                 be effective against preventing cervical and anal cancer;
            k)   Failing to use reasonable and prudent care in the research, manufacture,
                 labeling and development of Gardasil so as to avoid the risk of serious
                 harm associated with the prevalent use of Gardasil;
            l)   Failing to provide adequate instructions, guidelines, warnings, and safety
                 precautions to those persons who Merck could reasonably foresee would
                 use and/or be exposed to Gardasil;
            m)   Failing to disclose to Plaintiff and her medical providers and to the general
                 public that Gardasil is ineffective when used in patients who have
                 previously been exposed to HPV, and also failing to disclose that Gardasil
                 actually increases the risk of cervical cancer, including in any child or
                 patient who has previously been exposed to HPV;
            n)   Failing to disclose to Plaintiff and her medical providers and to the general
                 public that use of and exposure to Gardasil presents severe risks of cancer
                 (including cervical cancer, the very cancer it is promoted as preventing),
                 fertility problems, autoimmune diseases and other grave illnesses as
                 alleged herein;
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            o)   Failing to disclose to Plaintiff and her medical providers and to the general
                 public that use of and exposure to Gardasil presents severe risks of
                 triggering and increasing the risk of various autoimmune diseases,
                 including but not limited to POTS and OI;
            p)   Failing to disclose to Plaintiff and her medical providers and to the general
                 public that, contrary to Merck’s promotion of the vaccine, Gardasil has not
                 been shown to be effective at preventing cervical cancer and that the safest
                 and most effective means of monitoring and combating cervical cancer is
                 regular testing, including Pap tests;
            q)   Representing that Gardasil was safe and effective for its intended use
                 when, in fact, Merck knew or should have known the vaccine was not safe
                 and not effective for its intended use;
            r)   Falsely advertising, marketing, and recommending the use of Gardasil,
                 while concealing and failing to disclose or warn of the dangers Merck
                 knew to be associated with or caused by the use of Gardasil;
            s)   Falsely promoting Gardasil as preventing cervical cancer when Merck
                 knows that it has not done any studies to demonstrate that Gardasil
                 prevents cervical cancer and, indeed, its clinical studies revealed that
                 Gardasil actually increases the risk of cervical cancer;
            t)   Engaging in false advertising and disease mongering by scaring parents
                 and children into believing that cervical and anal cancer is far more
                 prevalent than it really is; that all cervical and anal cancer was linked to
                 HPV; that Gardasil prevented cervical and anal cancer, when in reality
                 none of these representations were true as cervical cancer rates were
                 declining in the United States due to Pap testing and Gardasil has not been
                 shown to prevent against all strains of HPV that are associated with


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                       cervical and anal cancer and, indeed, it has never been shown to prevent
                       cervical and anal cancer;
               u)      Failing to disclose all of the ingredients in Gardasil, including but not
                       limited to the fact that Gardasil contains dangerous HPV L1-DNA
                       fragments and that these DNA fragments could act as a Toll-Like
                       Receptor 9 (TLR9) agonist – further adjuvanting the vaccine and making
                       it more potent and dangerous;
               v)      Declining to make any changes to Gardasil’s labeling or other promotional
                       materials that would alert consumers and the general public of the true
                       risks and defects of Gardasil;
               w)      Systemically suppressing or downplaying contrary evidence about the
                       risks, incidence, and prevalence of the side effects of the Gardasil
                       Vaccines by, inter alia, orchestrating the retraction of peer-reviewed and
                       published studies and vilifying and attempting to ruin the careers of any
                       scientists who openly question Gardasil’s safety and efficacy.
       421.    Merck knew and/or should have known that it was foreseeable that patients, such
 as Plaintiff, would suffer injuries as a result of Merck’s failure to exercise ordinary care in the
 manufacturing, marketing, labeling, distribution, and sale of Gardasil.
       422.    Plaintiff and, upon information and belief, her medical providers, did not know
 the true nature and extent of the injuries that could result from the intended use of and/or
 exposure to Gardasil or its adjuvants and ingredients.
       423.    Merck’s negligence was the proximate cause of the injuries, harm, and economic
 losses that Plaintiff suffered, and will continue to suffer, as described herein.
       424.    Had Merck not engaged in the negligent and fraudulent conduct alleged herein
 and/or had Merck via its labeling, advertisements, and promotions provided adequate and
 truthful warnings and properly disclosed and disseminated the true risks, limitations, and lack of
 efficacy associated with Gardasil to medical providers, patients and the public, then upon
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 information and belief, Plaintiff’s medical providers would not have offered or recommended
 Gardasil to Plaintiff. Moreover, even if after Merck’s dissemination of truthful information
 concerning the true risks and efficacy limitation of Gardasil, Plaintiff’s medical providers had
 offered Gardasil, then upon information and belief, the providers would have heeded any
 warnings issued by Merck and relayed to Plaintiff the safety risks and efficacy limitations that
 Merck should have warned her about, but failed to do so. Had Plaintiff been informed of the
 true risks and efficacy limitation concerning Gardasil, either through her medical providers or
 through Merck’s ubiquitous direct-to-consumer promotional marketing, on which Plaintiff
 relied, then Plaintiff would never have consented to Plaintiff being injected with Gardasil.
       425.    As a proximate result of Merck’s wrongful acts and omissions and its negligent
 and fraudulent testing, labeling, manufacturing, marketing and promotion of Gardasil, Plaintiff
 has suffered and continues to suffer severe and permanent physical injuries, and associated
 symptomology and has suffered severe and permanent emotional injuries, including pain and
 suffering. Plaintiff also has a substantial fear of suffering additional and ongoing harms,
 including but not limited to now being at an increased risk of cancer, and future symptoms and
 harms associated with her autoimmune disease and other injuries caused by Gardasil.
       426.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has
 suffered and continues to suffer economic losses, including considerable financial expenses for
 medical care and treatment, and diminished income capacity, and she will continue to incur
 these losses and expenses in the future.
       427.    Merck’s conduct, as described above, was aggravated, oppressive, fraudulent, and
 malicious. Merck regularly risks the lives of patients, including Plaintiff, with full knowledge
 of the limited efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil.
 Merck has made conscious decisions to not warn, or inform the unsuspecting public, including
 Plaintiff, and her medical providers. Merck’s conduct, including its false promotion of Gardasil
 and its failure to issue appropriate warnings concerning the severe risks of Gardasil, created a


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 substantial risk of significant harm to children and patients who were being injected with
 Gardasil, and therefore warrants an award of punitive damages.
        428.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for
 compensatory damages and punitive damages, together with interest, and costs herein incurred,
 and all such other and further relief as this Court deems just and proper. Plaintiff also demands
 a jury trial on the issues contained herein.


                                        COUNT FIVE
                                     COMMON LAW FRAUD
        429.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein, and further alleges:
        430.    Merck is the researcher, manufacturer, labeler, and promoter of Gardasil.
        431.    Merck marketed Gardasil to and for the benefit of patients, including teenagers
such as Plaintiff and her medical providers.
        432.    Merck had a duty to deal honestly and truthfully with regulators, patients,
consumers and medical providers in its development, testing, marketing, promotion, and sale of
Gardasil.
        433.    Merck’s duty of care owed to patients and medical providers included providing
accurate, complete, true, and correct information concerning the efficacy and risks of Gardasil in
its direct-to-consumer advertisements, promotional material, and labeling.
        434.    At all times relevant to this litigation, Merck knew or should have known of the
hazards and dangers of Gardasil and specifically, the serious, debilitating and potentially fatal
adverse events associated with Gardasil, including but not limited to autoimmune diseases,
increased risk of cancer, and death.
        435.    At all times relevant to this litigation, Merck knew or should have known that its
poorly designed clinical trials and studies were insufficient to test the true long-term safety and
efficacy of Gardasil.


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       436.    At all times relevant to this litigation, Merck expressly represented through
 statements it made in its publications, ubiquitous television advertisements, billboards, print
 advertisements, online advertisements and website, and other written materials intended for
 consumers, patients, parents of minor-aged patients, medical providers and the general public,
 that Gardasil was safe and effective at preventing cancer.
       437.    These express representations included incomplete warnings and instructions that
 purport, but fail, to include the complete array of risks associated with Gardasil. By way of
 example Merck’s marketing material, including its “One Less” television and print
 advertisement campaign (including but not limited to Gardasil posters in medical facilities and
 doctors’ offices), which Plaintiff had been exposed to, stated that Gardasil was safe, that
 Gardasil was effective in preventing cancer, that Gardasil was a “cervical cancer vaccine,” and
 that any young child or teenager who was vaccinated with Gardasil would lead to “one less”
 person with cervical or anal cancer. The only safety warnings Merck provided in these
 marketing materials was that a patient could get pain, swelling or redness at injection site, fever,
 and/or nausea.
       438.    The ubiquitous nature of these Gardasil commercials and the Gardasil marketing
 campaign gave the impression that cervical cancer was on the rise and more prevalent than it
 actually was, and that all good mothers vaccinate their children with the “cervical cancer
 vaccine.”
       439.    Merck knew or should have known that the risks expressly included in Gardasil’s
 promotional material and labels did not and do not accurately or adequately set forth the true
 and complete risks of developing the serious injuries that are associated with Gardasil, as
 previously alleged herein, and which include but are not limited to POTS, systemic adverse
 events, autoimmune disease, increased risk of cancer, and death.
       440.    The same promises of efficacy and limited and incomplete warnings Merck
 relayed in its direct-to-consumer advertising, were what Plaintiff’s medical provider relayed to


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 her when she recommended Gardasil – i.e., that if Plaintiff got vaccinated with Gardasil, it
 would prevent cancer, and there were no significant risks.
       441.    Plaintiff had been exposed to Merck’s marketing material concerning Gardasil,
 including the aforementioned “One Less” marketing campaign and other print advertisements
 and posters at doctors’ offices, and the representations made by Merck therein that Gardasil is
 effective at preventing cervical and anal cancer, that Gardasil is safe and that its only side-
 effects are essentially minor injection site pain and swelling, and the possible onset of a fever or
 nausea. Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff was
 never informed by Merck, or anyone else, that Gardasil is linked to a host of serious debilitating
 and chronic adverse events including, autoimmune diseases (including, but not limited to,
 POTS), increased risk of cancer, and death.
       442.    Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff
 was never informed by Merck, or anyone else, that Merck had not conducted the proper testing
 necessary to demonstrate the efficacy and full safety of Gardasil.
       443.    Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff
 was never informed by Merck, or anyone else, that Merck had, as alleged herein, manipulated
 its clinical studies to mask and conceal the adverse events associated with Gardasil.
       444.    Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff
 was never informed by Merck, or anyone else, that the Gardasil clinical trials never established
 that Gardasil can prevent cervical or anal cancer, even though Merck in its promotional material
 falsely represented that Gardasil was a “cervical cancer vaccine” and that a patient who received
 Gardasil would result in “one less” woman or man getting cancer.
       445.    Merck’s representations were false, because in truth, Gardasil has not been proven
to prevent cervical or anal cancer and is associated with a myriad of dangerous and undisclosed
risks, including, but not limited to, the risk of autoimmune disease, including POTS, increased
risk of developing cancer, and other serious side effects. The false representations Merck made


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to the patients, children, teenagers, the parents of children and teenagers, the medical
community, including to Plaintiff, included:
               a)      that Gardasil is effective in preventing cervical and anal cancer, when
                       Merck knew that, contrary to these representations (i) no clinical studies
                       were performed to test whether Gardasil prevents cancer; and (ii) the
                       clinical studies confirmed that Gardasil is indeed ineffective when used in
                       patients who have previously been exposed to HPV, and that Gardasil
                       actually increases the risk of cervical cancer in any child or patient who
                       has been previously exposed to HPV;
               b)      that Gardasil is safe, when in reality, Gardasil causes and presents severe
                       risks of cancer (including cervical cancer, the very cancer it is promoted as
                       preventing), fertility problems, autoimmune disease, including POTS, OI,
                       and other grave illnesses;
               c)      false advertising and disease mongering by scaring parents into believing
                       that cervical and anal cancer were far more prevalent than it really was;
                       that Gardasil prevented cervical and anal cancer; and that Gardasil only
                       had risks of injection site pain and fever, when in reality none of these
                       representations were true as cervical cancer rates were declining in the
                       United States due to Pap testing and Gardasil has not been shown to
                       prevent cervical or anal cancer, and indeed some studies demonstrated that
                       it actually increased the risk of cervical cancer; and Gardasil was linked to
                       a host of serious, chronic and sometimes fatal diseases, including
                       autoimmune diseases, as previously outlined in this Complaint.
       446.    These representations and other similar representations were made by Merck to
the public, including to Plaintiff, with the intent that parents would either seek out Gardasil from
their medical providers or otherwise would provide their consent when they were offered
Gardasil.
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       447.    At the time she provided her consent to the Gardasil injection, Plaintiff was not
aware of the falsity of Merck’s aforementioned representations concerning the safety and
efficacy of Gardasil.
       448.    Plaintiff reasonably and justifiably relied upon the truth of the assurance made by
Merck in its direct-to-consumer marketing concerning the efficacy and safety of Gardasil (which
were also echoed by Plaintiff’s medical providers), when she provided consent to be injected
with the Gardasil vaccine.
       449.    Had Merck’s advertisements and promotional material, which Merck targeted to
teenagers and the parents of teenagers, and which Plaintiff received and on which she relied,
provided complete and truthful warnings and properly disclosed and disseminated the true risks,
limitations and lack of efficacy associated with Gardasil, then Plaintiff would not have consented
to being injected with Gardasil.
       450.    Merck also engaged in a number of additional fraudulent activities that led to
regulators, medical providers (upon information and belief, including but not limited Plaintiff’s
medical providers), and the general public (including directly and/or indirectly Plaintiff) to be
duped into believing that Gardasil is safe and effective. These fraudulent acts are outlined in
greater detail in the preceding paragraphs of this Complaint, and included, among others:
               a)       Failing to test Gardasil against a true inert placebo and lying to the public
                        that Gardasil was tested against a placebo, when in reality, all, or nearly
                        all, studies used a toxic placebo that included the dangerous aluminum
                        adjuvant AAHS.
               b)       Failing to conduct a sufficient number of studies for the targeted patient
                        population which included pre-teen girls (and boys) between the ages of
                        nine and 12.
               c)       Not using the commercial dosage (and instead using a lower dosage of the
                        adjuvant and ingredients) in one of the key clinical trials, which was used
                        to obtain licensing for the commercial dosage of Gardasil;
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               d)      Using very restrictive exclusionary criteria in the clinical study patient
                       population (including for example, exclusion of anyone who had prior
                       abnormal Pap tests, who had a history of immunological or nervous
                       system disorders or was allergic to aluminum or other ingredients), but
                       then not revealing or warning about these exclusionary criteria in the label
                       and knowing that for most of these ingredients and allergies, there are
                       limited resources for the public to test for such allergies in advance of
                       being vaccinated;
               e)      Failing to disclose all of the ingredients in Gardasil, including but not
                       limited to the fact that Gardasil contains dangerous HPV L1-DNA
                       fragments and that these DNA fragments could act as a Toll-Like
                       Receptor 9 (TLR9) agonist – further adjuvanting the vaccine and making
                       it more potent and dangerous.
       451.    Merck engaged in the above mentioned fraudulent conduct as well as the
additional
     fraudulent conduct detailed throughout this Complaint with the intent to enhance Gardasil’s
safety and efficacy profile and to conceal Gardasil’s serious risks and efficacy shortcomings in
order to secure regulatory approval and more importantly, so as to encourage physicians and
medical providers to recommend Gardasil to patients and to prepare and encourage patients to
request and consent to Gardasil injections.
       452.    Plaintiff could not reasonably have discovered the falsity of Merck’s
representations, the fraudulent nature of Merck’s conduct, and the defects and risks associated
with Gardasil before or at the time of her injection. Plaintiff relied upon the skill, superior
knowledge, and judgment of Merck, the manufacturer, labeler, and promoter of Gardasil, and
they detrimentally relied upon Merck’s fraudulent, false, and misleading statements, omissions,
and conduct.


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        453.    As a proximate result of Merck’s fraudulent, false, and misleading statements,
omissions, and conduct concerning the safety and efficacy of Gardasil, Plaintiff has suffered and
continues to suffer severe and permanent physical injuries, and associated symptomology and
has suffered severe and permanent emotional injuries, including pain and suffering. Plaintiff
also has a substantial fear of suffering additional and ongoing harms, including but not limited to
now being at an increased risk of cancer, and future symptoms and harms associated with her
autoimmune disease and other injuries caused by Gardasil.
        454.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has
suffered and continues to suffer economic losses, including considerable financial expenses for
medical care and treatment, and diminished income capacity and she will continue to incur these
losses and expenses in the future.
        455.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.
Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of the limited
efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has made
conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff and her
medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure to
issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk of
significant harm to children and patients who were being injected with Gardasil.
        456.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

compensatory and punitive damages, together with interest, and costs herein incurred, and all

such other and further relief as this Court deems just and proper. Plaintiff also demands a jury

trial on the issues contained herein.

                                   COUNT SIX
                    VIOLATION OF CONSUMER PROTECTION LAWS

    457.        Plaintiff incorporates by reference each and every paragraph of this Complaint as

if fully set forth herein and further alleges as follows.


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   458.        Plaintiff used Gardasil and suffered ascertainable losses as a result of

Merck’s actions in violation of the consumer protection laws.

   459.        Merck used unfair methods of competition or deceptive acts or practices that

were proscribed by law, including the following:

       a. Representing that goods or services have characteristics, ingredients, uses, benefits

       or quantities that they do not have;

       b. Advertising goods or services with the intent not to sell them as advertised; and

       c. Engaging in fraudulent or deceptive conduct that creates a likelihood of confusion

       or misunderstanding.

   460.        Merck violated consumer protection laws through its use of false and

misleading misrepresentations or omissions of material fact relating to the safety of Gardasil.

   461.        Merck violated consumer protection laws, specifically Indiana Unfair Trade

Practices and Consumer Protection Law Ind. Code Ann. 24-5-0.5-3. Merck uniformly

communicated the purported benefits of Gardasil while failing to disclose the serious and

dangerous side effects related to the use of Gardasil and the true state of Gardasil’s

safety, efficacy, and its usefulness. Merck made these representations to physicians, the

medical community at large and to patients such as Plaintiff, in the marketing and advertising

campaign described herein.

   462.        Merck’s conduct in connection with Gardasil was also impermissible and

illegal in that it created a likelihood of confusion and misunderstanding because Merck

misleadingly, falsely, and or deceptively misrepresented and omitted numerous material facts

regarding, among other things, the utility, benefits, costs, safety, efficacy, and advantages of

Gardasil.


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    463.        As a result of these violations of consumer protection laws, Plaintiff has incurred

serious physical injury, pain, suffering, loss of income, loss of opportunity, loss of family and

social relationships, medical expenses, and other expenses related to the diagnosis

and treatment thereof, for which Merck is liable.

    464.        By reason of the foregoing, Merck is liable to Plaintiff for compensatory

damages in an amount to be proven at trial, together with interest, costs of suit, attorneys’ fees

and all such other relief as the Court deems proper.

                                          COUNT SEVEN
                                      PUNITIVE DAMAGES
        465.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth herein, and further alleges:

        466.    At all times material hereto, Merck knew or should have known that Gardasil was

inherently dangerous with respect to the risk of autoimmune diseases.

        467.    At all times material hereto, Merck attempted to misrepresent and did misrepresent

facts concerning the safety of Gardasil.

        468.    Merck’s misrepresentations included knowingly withholding material information

from the medical community and the public, including Plaintiff, concerning the safety of the

subject product.

        469.    At all times material hereto, Merck knew and recklessly disregarded the fact that

Gardasil causes autoimmune diseases.

        470.    Notwithstanding the foregoing, Merck continued to aggressively market the subject

product to consumers, including Plaintiff herein, without disclosing the aforesaid side effects.

        471.    Merck knew of the subject product’s lack of warnings regarding the risk of

developing autoimmune disorders, but it intentionally concealed and/or recklessly failed to


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disclose that risk and continued to market, distribute, and sell Gardasil without said warnings so

as to maximize sales and profits at the expense of the health and safety of the public, including

Plaintiff herein, in conscious and/or negligent disregard of the foreseeable harm caused by

Gardasil.

        472.    Merck’s intentional and/or reckless failure to disclose information deprived

Plaintiff of necessary information to enable her to weigh the true risks of using Gardasil against

its benefits.

        473.    As a direct and proximate result of Merck’s willful, wanton, careless, reckless,

conscious, and deliberate disregard for the rights and safety of its consumers, Plaintiff suffered

severe and permanent physical and emotional injuries, including, but not limited to, POTS,

fibromyalgia, and pain amplification syndrome. Plaintiff has endured pain and suffering, has

suffered economic loss, including incurring significant expenses for medical care and treatment,

and will continue to incur such expenses in the future. Plaintiff’s injuries and damages are

permanent and will continue into the future.

        474.    Merck’s aforesaid conduct was committed with knowing, conscious, careless,

reckless, willful, wanton, and deliberate disregard for the rights and safety of consumers, including

Plaintiff, thereby entitling Plaintiff to punitive damages in an amount appropriate to punish

Defendants and deter them from similar conduct in the future.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

for compensatory, treble, and punitive damages, together with interest, costs herein incurred,

attorneys’ fees, and all such other and further relief as this Court deems just and proper. Plaintiff

also demands that the issues herein contained be tried by a jury.




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                                        PRAYER FOR RELIEF
       WHEREFORE, Plaintiff Madelyn Lipscomb requests that the Court enter judgment in
her favor and against Merck & Co., Inc., and Merck, Sharp and Dohme Corporation (collectively
“Merck”) as to all causes of action, and awarding as follows:
       A.      For actual or compensatory damages in such amount to be determined at trial and
               as provided by applicable law;
       B.      For economic and non-economic damages in an amount to be proven at trial;
       C.      For medical, incidental, hospital, psychological and other expenses in an amount
               to be proven at trial;
       D.      For loss of earnings and earnings capacity, in an amount to be proven at trial;
       E.      For an award of pre-judgment and post-judgment interest as provided by law;
       F.      For exemplary and punitive damages against Merck sufficient to punish and deter
               Merck and others from future fraudulent practices;
       G.      For preliminary and/or permanent injunctive relief against Merck;
       H.      For an award providing for payment of reasonable fees, court costs, and other
               litigation expenses as permitted by law;
       I.      For such other and further relief as this Honorable Court may deem just and
               proper.

                                    JURY TRIAL DEMAND
       475.    Plaintiff demands a trial by jury on all of the triable issues within this pleading.




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DATED: April 5, 2022               Respectfully submitted,

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